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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

VEROBLUE FARMS USA, INC.,                    )
                                             )
                      Plaintiff,             )
                                             )              Case No. 3:19-cv-00764-L
       v.                                    )
                                             )
LESLIE A. WULF, BRUCE A. HALL,               )
JAMES REA, JOHN E. REA,                      )
KEITH DRIVER, CANACCORD                      )
GENUITY LLC, CHRISTINE GAGNE,                )
 and SEAN MANIACI,                           )              JURY TRIAL DEMANDED
                                             )
                      Defendants.            )

                             SECOND AMENDED COMPLAINT

       Plaintiff, VeroBlue Farms USA, Inc. (“VBF”), through its undersigned counsel, complains

of Defendants, Leslie A. Wulf (“Wulf”), Bruce A. Hall (“Hall”), James Rea (“James Rea”), John E.

(“Ted”) Rea, (“Ted Rea”), Keith Driver (“Driver”) (Wulf, Hall, James Rea, Ted Rea, and Driver

are collectively referred to as the "Founders"), Canaccord Genuity LLC (“Canaccord”), Christine

Gagne (“Gagne”), and Sean Maniaci (“Maniaci”) (together Canaccord, Gagne, and Maniaci are

collectively referred to as the “Conspiring Defendants”), and alleges as follows:

                                     I. INTRODUCTION

       1.      The Founders founded VBF, a sustainable fish farm business, in 2014. The

Founders did not invest any of their own money into VBF but by early 2018, the Founders had

taken millions of dollars from VBF. By early 2018, the last of the Founders were terminated by

VBF and had misappropriated or otherwise squandered over $90,000,000 in debt and equity that

others invested in VBF. VBF filed for bankruptcy in 2018.

       2.      The Founders’ misconduct includes misappropriations and misuse of VBF’s assets

and continuous and knowing misrepresentations of VBF’s operations, technology, and finances.
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This caused VBF, at the Founders’ direction, to sink tens of millions of dollars into what the

Founders knew to be a losing proposition, to the benefit of the Founders and to the detriment of

VBF.

          3.   Those who raise and squander $90,000,000 in a mere three years cannot do so

without a great deal of misconduct. Overall, (1) the Founders drained VBF of assets and looted

the company, (2) the Founders withdrew significant funds while VBF was in financial trouble,

(3) the Founders, Gagne, and Maniaci received money and other assets that belonged to VBF for

no reasonably equivalent value, (4) the Founders ultimately rendered VBF virtually incapable of

operation, and (5) the Founders took improper salaries and other benefits from VBF’s assets. VBF

acted as alleged herein through the control of the Founders. The Conspiring Defendants aided the

Founders in committing their misconduct, or otherwise committed misconduct. VBF seeks

compensatory damages in the amount of at least $90,000,000, plus punitive damages and other

relief.

                                          II. PARTIES

          4.   VBF is a Nevada corporation with its principal place of business in Webster City,

Iowa. VBF is a citizen of Nevada and Iowa.

          5.   All Founders are Canadian citizens, except for Hall.

          6.   Driver is a Canadian citizen and resides in Calgary, Alberta, Canada. Driver served

as an officer (performing the function of Chief Operating Officer for most, if not all of his tenure,

whether or not he held that official title) and employee (and/or contractor) of VBF from October

1, 2014 through on or about January 13, 2017, when VBF terminated his employment and officer

status. Driver continued to serve VBF as an independent contractor through December 2017.

During his tenure at VBF, Driver purported to serve as VBF’s chief in-house aquaculture expert,




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and therefore the Founders’ fraud regarding VBF’s technical performance bears heavily on Driver,

in addition to the other Founders.

        7.      James Rea, a Canadian citizen, has permanent resident alien status in the United

States and is domiciled in Texas. James Rea served as a director, officer and employee (and/or

consultant) of VBF October 1, 2014 through on or about January 8, 2018 when VBF terminated

his employment (and/or contractor), director, and officer status.

        8.      Ted Rea, a Canadian citizen, has permanent resident alien status in the United States

and is domiciled in Texas. Ted Rea served as a director, officer and employee (and/or consultant)

of VBF from October 1, 2014 through on or about October 27, 2017 when VBF terminated his

employment (and/or contractor), director, and officer status.

        9.      Hall, is a United States citizen and is domiciled in Texas. Hall served as a director,

officer (Chief Financial Officer during much, if not all, of his tenure at VBF) and employee (and/or

consultant) of VBF from October 1, 2014 through on or about October 27, 2017 when VBF

terminated his employment (and/or contractor), director, and officer status.

        10.     Wulf, a Canadian citizen, has permanent resident alien status in the United States

and is domiciled in Texas. Wulf served as a director, officer (Chief Executive Officer during

much, if not all, of his tenure at VBF) and employee (and/or contractor) of VBF from October 1,

2014 through on or about November 6, 2017, when VBF terminated his employment (and/or

consultant), director, and officer status.

        11.     Canaccord is a Delaware limited liability company. The Founders retained

Canaccord, an investment banking firm, to raise funds for VeroBlue Farms, Inc. (“VBF Canada”),

not a party to this lawsuit. After diligent investigation of publically available information, none

of Canaccord’s members are citizens of the same state as VBF (Iowa or Nevada). Canaccord has




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Canadian roots as a firm and has offices in Canada, Europe, the Middle East, the Far East, and

Australia. Its only United States offices are in cities not located in Nevada or Iowa. VBF has no

information that any Canaccord member is an Iowa or Nevada citizen after investigating the same.

Alternatively, VBF requests limited discovery as to that issue.

       12.     Gagne is a Canadian citizen whose present whereabouts are unknown to VBF after

reasonable investigation. VBF believes that until recently Gagne lived with her husband in West

Virginia. Gagne’s husband, however, informed VBF that Gagne no longer lives with him and that

he does not know if or when she will return. After diligent investigation of publically available

information, VBF has been unable to locate a more recent address for Gagne. Gagne is Wulf’s

daughter who VBF paid during Wulf’s tenure for alleged services performed. VBF knew Gagne

to be a Canadian citizen during events alleged herein, and has not confirmed any facts that she has

gained her citizenship.

       13.     Maniaci is a lawyer, and at all relevant times, has been a partner specializing in

corporate and securities laws at Cassels Brock & Blackwell LLP (“CBB”), a Canadian law firm

with three offices, all in Canada. Maniaci is a citizen of Canada. He works in the Toronto office,

various communications he sent regarding VBF were sent with his Toronto, Canada signature

block, he received his undergraduate degree in Canada; he received his master’s in business

administration in Canada, he received his equivalent to a law degree in Canada, and he received

an advanced law degree in Canada.

                             III. JURISDICTION AND VENUE

       14.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§1332 (a)(1) and (2). Gagne, Maniaci, and all the Founders except Hall are citizens of a foreign

state and are not domiciled in the same states as VBF; Hall and, based upon diligent investigation,

Canaccord are not citizens of the same states as VBF; and the amount in controversy exceeds


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$75,000, exclusive of costs and interest. Alternatively, this Court has supplemental jurisdiction

over Gagne, Canaccord, and Maniaci pursuant to 28 U.S.C. § 1367.

        15.    The Court also has subject matter jurisdiction over all Defendants pursuant to 28

U.S.C. § 1331 as VBF brought claims against all Defendants pursuant to the United States

Racketeer Influenced and Corrupt Organizations Act (“RICO”), 28 U.S.C. § 1961.

        16.    Venue in this District is proper because the United States District Court for the

Northern District of Iowa, on March 27, 2019, transferred this case to this Court. (VeroBlue Farms

USA, Inc. v. Wulf, et al., Case No. 18-CV-3047, Iowa Dkt. 50, the “Transfer Order”).

        17.    This Court has personal jurisdiction over Defendants pursuant to § 17.042(2) of the

Texas Civil Practice and Remedies Code, as the Defendants committed torts in part in Texas and

further, Founders James Rea, Ted Rea, Hall and Wulf are domiciled in Texas.

          IV. VBF’S BEGINNINGS AND VBF’S DISCOVERY OF ITS CLAIMS

        18.    The Nelson family of Webster City, Iowa, led by cousins Mark and Jeff Nelson

(collectively, the “Nelsons”), started their aquaculture business in Blairsburg, Iowa in 2012, which

was known as “Iowa’s First.” Effective December 31, 2014, the Nelsons sold their business to

VBF (incorporated by the Founders on September 5, 2014) through a transaction through which

the Nelsons and their wives retired $1,200,000 in debt and received stock in VBF. VBF thereafter

operated a sustainable fish farm (“Farm”) business (in the “aquaculture” industry) in Webster City,

Iowa.

        19.    The Founders controlled VBF from its incorporation until the Founders’ departure

from VBF by exerting control over VBF’s operations and data regarding VBF’s actual financial

and operational performance, including in their continuing capacity as VBF officers.

        20.    After terminating the Founders, VBF conducted an investigation through which

VBF, by March 2018, started to discover the misappropriations and other misconduct alleged


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herein. VBF did not know, nor could it have known, of the Founders’ misconduct until that time,

especially since the Founders fraudulently concealed their misconduct from VBF, as further

alleged herein.

       21.        VBF discovered at least fourteen schemes consummated by the Founders to

accomplish their misappropriations over a period of approximately three years. The Founders

accomplished these schemes without the approval of disinterested VBF directors with knowledge

and notice of such schemes.

       22.        Further, after VBF commenced this action on July 31, 2018, VBF, through

continuing investigation and discovery, discovered more facts upon which this Second Amended

Complaint is based. Prior to this investigation and lawsuit discovery, VBF did not know, nor could

it have known, of all of these facts, and how they fit into the Founders’ various schemes and other

misconduct, especially since the Founders and the other Defendants fraudulently concealed their

misconduct from independent directors of VBF, as further alleged herein.

       23.        It was not until after VBF terminated all of the Founders that the Founders’ grip

over VBF, including its data, lessened and VBF was able to investigate the Founders’ misconduct

with less obstruction by the Founders. This permitted VBF to start to learn the depth of the

Founders’ misconduct, which VBF is still investigating. VBF could not have been aware of any

of the transactions involving payments made to the Founders or fraudulent nature of those

transactions until after it terminated the Founders.

       24.        Thus, the discovery rule, fraudulent concealment, and equitable tolling principles

apply to any applicable limitations period. See, e.g., HECI Exploration Co. v. Neel, 982 S.W.2d

881, 886 (Tex. 1998) (where the discovery rule shifts the date of the “legal injury” from the time

the wrongful action occurred to the time when “[plaintiffs] knew or, exercising reasonable




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diligence, should have known of the facts giving rise to a cause of action”); State v. Allan Const.

Co., 851 F.2d 1526, 1528, 1534 (5th Cir. 1988) (holding that acts taken to conceal wrongful

conduct and denial of wrongdoing may support the application of fraudulent concealment and

reversing the trial court’s grant of summary judgment on limitations grounds); Remmes v. Int'l

Flavors & Fragrances, Inc., 453 F. Supp. 2d 1058, 1067 (N.D. Iowa 2006) (“Under the common

law discovery rule, an action does not accrue until the plaintiff knows or in the exercise of

reasonable care should have known both the fact of the injury and its cause”); Rieff v. Evans, 630

N.W.2d 278, 290 (Iowa 2001), as amended on denial of reh'g (July 3, 2001) (holding that

fraudulent concealment can toll the applicable statute of limitations and that, in the case of a

fiduciary, plaintiff need not plead affirmative concealment and “mere silence may be enough to

equal fraudulent concealment.”)1

                             V. THE FOUNDERS’ MISAPPROPRIATIONS

           25.      The first category of the Founders’ misconduct is their misappropriation of VBF’s

cash and other assets. The Founders never invested any of their own money in VBF. Instead, they

conspired and worked together to drain VBF of approximately $5,000,000 to $10,000,000 in cash

and other assets over their three-year reign to directly benefit themselves to the detriment of VBF.

This amount is subject to VBF’s continuing investigation.

A.         BAJJER Stock Scheme

           26.      BAJJER LLC (“BAJJER”) is owned and controlled by some or all of the Founders

or their affiliates, including but not limited to, BHDH Family, LP (Hall), Law Holdings, LLC

(Wulf), and J2 Family, LP (Ted Rea). On September 18, 2014, the Founders directed VBF to

transfer 1,250,000 shares of VBF Canada (VBF Canada initially owned the shares of VBF) to



1
    Alternatively, VBF cites Iowa law regarding the discovery rule as Iowa substantive law applies to this case.


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BAJJER, for a grand total of $1.25. A true and correct copy of documentation regarding this

transaction is attached and incorporated herein as Exhibit 1.

        27.     Such stock was sold to others around that same time for $0.90 per share, meaning

that the Founders received for free what the Founders valued to others at the time as at least

$1,125,000 worth of stock. Unfortunately, due to the Founders’ misconduct, stock in VBF and its

affiliates is without value.

B.      American Growth Funding Loan Scheme

        28.     BAJJER II, LLC (“BAJJER II”) is also owned and controlled by some or all of the

Founders or their affiliates (and third parties), including but not limited to, BHDH Family, LP and

J2 Family LP. American Growth Funding, LLC (“AGF”) loaned $78,000 to BAJJER II, which

grew to $101,000, with interest, and which AGF wrote off as bad debt on or before December 31,

2016. AGF is a factoring/finance company, and its affiliates have been sued for fraud by the

United States Securities and Exchange Commission, in the United States District Court for the

Southern      District   of    New    York,    as    summarized      in    this   press    release:

https://www.sec.gov/news/pressrelease/2016-21.html. Either BAJJER or BAJJER II initially

owned AGF.

        29.     AGF loaned BAJJER another $200,000, which BAJJER transferred to VBF.

        30.     On July 8, 2016, the Founders directed VBF to pay AGF $375,000, even though

VBF never had a direct borrowing relationship with AGF. Upon information and belief, this

$375,000 amount encompasses not only the $200,000 referenced in paragraph 29 above, but also

the $101,000 amount referenced in paragraph 28 above.

        31.     Therefore, the Founders utilized VBF funds to repay an alleged debt to AGF

representing funds that did not benefit VBF, but instead that benefitted the Founders personally.




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C.     Wulf Lake House Scheme

       32.    Wulf owns, or owned at relevant times, a vacation home on a lake in Texas (“Wulf

Lake House”). A fire destroyed the Wulf Lake House in early 2015.

       33.    Wulf rebuilt the Wulf Lake House from in or around May 2015 through in or around

July 2017.

       34.    VBF employee Tracy Arbanas (“Arbanas”) oversaw the reconstruction of the Wulf

Lake House, and VBF paid her to do so at an annual cost to VBF of approximately $97,500, which

represented Arbanas’ compensation and benefits. James Rea authorized Arbanas’ work as it

related to the Wulf Lake House. Further, VBF funded housing for Arbanas close to the Lake

House, and refreshments for the construction crew on this project. All told, VBF incurred

approximately $107,490.51 for compensation and benefits to Arbanas. These funds did not benefit

VBF, but instead, benefited Wulf.

D.     Sedun Stock Scheme

       35.    Gregg Sedun (“Sedun”), upon information and belief, has had social and/or

business relationships with the Founders outside of VBF, and preexisting VBF’s incorporation.

       36.    On December 11, 2015, Sedun loaned $200,000 to VBF, and Sedun loaned another

$50,000 to VBF through an entity owned and controlled by Sedun, Alcaron Capital Corp.

(“Alcaron”) on June 23, 2016.

       37.    On July 12, 2016, VBF paid Alcaron $326,056, representing about $76,000 in

interest on $250,000 in loans made only months before the repayment. That same day, July 12,

2016, Wulf authorized VBF to issue 1,500,000 shares of VBF to Alcaron, purportedly for Sedun’s

procurement of other investment in VBF, with Alcaron paying nothing for this stock (again, the

stock was valued at $0.90/share at the time, rendering this allotment of stock to be worth about

$1,350,000 at the time.) Two days later, on July 14, 2016, Sedun loaned Wulf $225,000 for the


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Wulf Lake House and Wulf promoted Sedun to be a VBF director. Therefore, Wulf utilized VBF

funds to benefit himself personally, rather than VBF.

E.     Compensation Scheme

       38.     The five Founders set their own compensation from VBF at $400,000 annually for

each Founder besides Driver, who made $325,000 annually, for a total for all five of the Founders

of $1,925,000 per year. For the sake of reference, one person replaced all of the Founders as

VBF’s President, and VBF has paid him $250,000 per year. Therefore, the Founders were

overpaying themselves at least, and approximately, $1,675,000 per year, even if they had been

properly performing their duties, which they were not.

       39.     Additionally, at the Founders’ direction, without valid reason, and without full

disclosure of material facts to disinterested directors such as those facts alleged herein, VBF paid

the five Founders twice their monthly compensation in July 2016.

       40.     At the time of this compensation, the disinterested VBF directors did not know of

the Founders’ fraud and other misconduct, and otherwise did not possess sufficient knowledge of

the Founders’ misconduct to knowingly approve of this excessive compensation. The Founders

not only affirmatively led such directors to believe that their compensation was justified based on

VBF’s actual performance, which the Founders consistently misrepresented as succeeding when

it was actually failing, as the Founders knew, but also concealed material facts from those directors.

In other words, the Founders misled disinterested directors into believing that the Founders’

services to VBF were worth $1,925,000 in annual compensation and other benefits.

       41.     This is all the more troubling because though the Founders were taking millions of

dollars in “compensation” from VBF, they had not invested any of their own money in VBF, were

misappropriating and misusing other funds of VBF, were purposefully mismanaging VBF to




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benefit themselves and their other companies, and were committing and hiding their fraudulent

acts from the independent directors and shareholders.

F.     Gagne Scheme

       42.    Gagne is Wulf’s daughter. Gagne is a Canadian citizen who did not have any legal

immigration status to work in the United States during the relevant time period. VBF, at Wulf’s

direction, purportedly employed Gagne or contracted with her for alleged services. Gagne would

often drive from Canada allegedly to work at VBF in Webster City, Iowa.

       43.    VBF, at Wulf’s direction, paid Gagne not under her real name, but under the name

“Ronnie O’Brien” to conceal VBF’s payments to her.

       44.    Gagne abruptly left VBF in November 2017, when VBF terminated Wulf’s

employment and other statuses with VBF. At that time, Gagne said the following words to those

present at VBF’s Webster City, Iowa facility at the time, in recognition of the misconduct

represented by her relationship with VBF as fostered by some or all the Founders: “None of you

have ever seen me and you do not know who I am.”

       45.    At a minimum, VBF incurred approximately $52,264.28 for compensation and

benefits to Gagne, which benefited Gagne and Wulf and was to the detriment of VBF. Further,

this and other schemes demonstrate the general manner with which the Founders played “fast and

loose” with applicable laws and regulations to the detriment of VBF and for their own benefit.

G.     OFA Scheme

       46.    The Founders incorporated Opposing Flows Aquaculture, Inc. (“OFA”) on July 31,

2014 in anticipation of VBF’s operations. VBF grows its fish in tanks that are housed at the Farm

(“Tanks”).

       47.    The Founders formed OFA to buy Tanks from a third-party, and then to resell Tanks

to VBF at a profit to OFA and the Founders (“OFA Scheme”).


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       48.     Of course, it was more beneficial to VBF not to pay OFA a profit as an unnecessary

“middleman.” Instead, VBF could buy directly from the third party without paying any amount to

OFA, which VBF ultimately has done now that it is no longer under the control of the Founders.

VBF has yet to discover that OFA engaged in any transactions. Through its count for an equitable

accounting, however, VBF seeks a full accounting of OFA from the Founders.

H.     Misappropriations of VBF Canada Stock

       49.     The Founders did not invest their own money into VBF or VBF Canada.

       50.     Yet, the Founders caused VBF Canada to issue VBF Canada stock to entities that

the Founders owned. Specifically, the Founders caused VBF Canada to issue to (a) Seven Hours

Holding Company, Inc., Driver’s company, 2,500,000 common shares in VBF Canada at

$0.000001 a share; (b) BHDH Family, LP, Hall’s company, 3,600,000 common shares in VBF

Canada at $0.000001 a share; (c) J2 Family, L.P., Ted Rea’s company, 3,300,000 common shares

in VBF Canada at $0.000001 a share; LAW Holdings LLC, Wulf’s company, 3,600,000 common

shares in VBF Canada at $0.000001 a share; and (d) RGI Dragon, LLC, James Rea’s company,

3,600,000 common shares in VBF Canada at $0.000001 a share.

       51.     At the time of the transfer, the Founders were valuing the shares in VBF Canada at

approximately $0.90 a share and requiring others to pay that price for VBF Canada shares. Issuing

such shares benefited the Founders to the detriment of VBF.

I.     Other Misappropriations of VBF Funds For Personal Use

       52.     The Founders engaged in a variety of other schemes through which they

orchestrated VBF’s expenditure of its funds or other assets for the Founders’ personal benefit, not

VBF’s, and to VBF’s detriment, including, but not limited to, the following:

               a.     travel and other expenses relating to a July 2014 trip by some or all of the
                      Founders to Denver, Colorado in relation to a non-VBF business known as
                      ChipMeds, Inc., and possibly other expenses relating to this entity;


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              b.     Wulf's personal cell phone bills well beyond a reasonable amount, or even
                     the amount expensed to VBF by the other Founders;

              c.     James Rea’s personal living expenses in Ames, Iowa, about forty miles from
                     Webster City, Iowa in or around August 2017;

              d.     exorbitant travel expenses for the Founders to travel to or from Canada or
                     Texas to Webster City, Iowa;

              e.     the unnecessary leasing of twenty-two company vehicles, including Ford
                     Explorers for the Founders’ personal use;

              f.     payment of personal travel expenses for the Founders and some or all of
                     Founders’ friends and family, including trips to Australia and Norway;

              g.     directing VBF’s controller to perform accounting services for the Founders’
                     non-VBF business ventures while on VBF company time and while he was
                     being paid by VBF;

              h.     $310,000 for the purchase of a house in Webster City, Iowa, when the house
                     was worth $240,000, if not less, and the home was not necessary for
                     legitimate business reasons given the Founders’ maintenance of their
                     residence in Texas or Canada. Indeed, VBF, through Hall and possibly
                     other Founders, purchased this home on August 9, 2016 for $310,000 and
                     VBF sold this home on May 25, 2018 for $232,000. True and correct copies
                     of the relevant closing statements are attached as Exhibit 2; and,

              i.     other improper expenditures of VBF funds for some or all of the Founders’
                     personal expenses.

       53.    Overall, perhaps one non-Founder VBF director said it best at a December 6, 2017

VBF board meeting when the Founders’ misconduct was just starting to come to light: the

Founders spent VBF’s money “like drunken sailors.” Those same minutes reflect VBF’s discovery

that just three of the Founders, Wulf, Hall, and James Rea, had run up $496,000 in improper

expenses reimbursed by VBF over a mere fifteen-month period. The Founders took so much

money out of VBF that VBF requires a full equitable accounting from the Founders to learn the

true depth of the Founders’ misappropriation and squandering of VBF’s funds.




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  VI. The Founders’ Intentional Misrepresentations of VBF’s Technology and Finances

       54.     In Section V, VBF alleges the Founders’ misappropriation of approximately

$5,000,000 to $10,000,000. However, as alleged, VBF lost a total of $90,000,000 under the

Founders’ reign and due to their misconduct.

       55.     VBF was never profitable under the Founders’ three-year reign. The Founders, like

many swindlers, procured funds through fraud and other misconduct and then wasted tens of

millions of dollars by investing in and operating VBF, including to benefit themselves, despite

knowing VBF to be a fatally-flawed venture. The Founders did so, in part, by knowingly

misrepresenting VBF’s performance and operational metrics, finances, and the amount of technical

experience behind VBF, while concealing material and contrary information from disinterested

VBF directors. The Founders worked in concert to accomplish the fraud and bad acts, backing

each Founder’s misrepresentations and misconduct, which further explains how the Founders

squandered $90,000,000 in about three years.

       56.     Overall, the Founders violated their fiduciary duty of due care by blatantly and

intentionally mismanaging and misusing VBF funds and assets without regard to VBF’s best

interests or actual performance, including, but not limited to, overbuilding VBF’s facilities,

presenting highly flawed and intentionally manipulated business plans based on false

representations of actual performance, misrepresenting technology, misrepresenting and/or

recklessly or intentionally mismanaging capital expenditures, misrepresenting and/or recklessly or

intentionally mismanaging other financial and operational issues, purchasing unnecessary real and

personal property, overpaying for real and personal property, and otherwise, in a period of three

years, squandering for their own benefit and to the detriment of VBF what had been an investment

of approximately $90,000,000 in debt and equity by others (non-Founders) in VBF.




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A.      Key Performance and Financial Metrics

        57.     VBF was an indoor aquaculture business that relied on indoor Tanks to cultivate

and grow its fish. There are several fundamental metrics (“Metrics”) important to an aquaculture

business like VBF. Information that is material to disinterested directors and officers in an

aquaculture business includes data as to how the business is performing in these Metrics, and how

this actual performance impacts planning, projections, and/or forecasts.          VBF, through its

predecessor, Iowa’s First, had been operating for approximately two to three years by the time the

Founders started to solicit investments in VBF.

        58.     In no particular order, the first Metric is the “Feed/Fish Conversion Ratio” (“FCR”).

The FCR is stated in an equation as to the amount of fish feed (food) an aquaculture business

utilizes to grow every pound of fish. For example, a 1:1 FCR means that the business utilizes one

pound of fish feed for every pound of fish grown by the business. The FCR Metric heavily impacts

an aquaculture business’ profitability, or lack thereof, as spending too much money on feed

increases costs.

        59.     Second, there is density (“Density”), which is the amount of fish (measured in

pounds) per tank that an aquaculture company can safely grow with reasonable mortality rates.

        60.     Third, there are mortality rates (“Mortality Rates” or “Mortality”) that are stated as

a percentage of the amount of fish that die in the cultivation process.

        61.     In addition to the Metrics, a paramount issue in the aquaculture business is the

ability to supply and circulate clean water in the cultivation tanks (“Water Quality”). Fecal matter

from the fish and other debris (such as uneaten feed) degrade water quality, and the ability of an

aquaculture business to filter such toxic materials and to supply oxygen rich water limited in

nitrates is critical to the success of the business.




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       62.     As far as financial performance, one measure represented by the Founders was

“EBITDA per pound,” that is the amount of Earnings Before Interest Taxes Depreciation and

Amortization (“EBITDA”) per pound of fish.

       63.     Also, aquaculture is a highly specialized industry, and therefore the technical

experience and expertise behind such a business is crucial.

B.     Overview of Canaccord’s Participation in the Founders’ Fraud And Breaches of
       Fiduciary Duty

       64.     In many respects, the Founders “reverse engineered” their plans: they knew what

EBITDA, rates of return, or other financial metrics would be appealing to potentially interested

third parties, shareholders and disinterested board members, and backfilled false data in order to

achieve their lofty but unrealistic EBITDA or rates of return.        The bio-plans were even

incompatible and inconsistent with VBF business plans, prepared by the Founders, as certain data

included on bio-plans was represented differently on business plans. VBF will collectively refer

to bio-plans and business plans as the “Reports.”

       65.     The Founders had the substantial assistance of Canaccord, the investment banker

hired to help the Founders find debt and/or equity investments in VBF Canada. Canaccord never

performed any services directly for VBF, instead performing them for VBF Canada, but the

representations that Canaccord concocted and publicized with the Founders were relayed to VBF,

and continued by former Canaccord employees and/or the Founders until the last of the Founders

left VBF in early 2018.

       66.     Canaccord’s work (the “Canaccord Project”) began in or around January 2015 and

allegedly continued into in or around July 2016. Canaccord assigned a large team to the Canaccord

Project, including, but not limited to, senior managing director (a prominent title at Canaccord)

Steve Lobb (“Lobb”), corporate bond manager Mark Pibl (“Pibl”), senior investment banker



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Jennifer Pardi (“Pardi”), Robert Goodman (“Goodman”), and sales person Clive Ginsberg

(“Ginsberg”).

       67.      At some time in 2015, Lobb and Goodman left the employ of Canaccord to work

for VBF, hired by the Founders. This further established the linkage between Canaccord and the

Founders, and Lobb and Goodman continued to be intimately involved in making

misrepresentations about VBF, in collaboration with the Founders, as alleged herein as VBF

employees or 1099 contractors.

       68.      Canaccord was first attempting to raise debt for the Canaccord Project, but later

solicited equity investors as well.

       69.      Canaccord’s process, upon information and belief, was generally in two parts.

First, Canaccord investment bankers such as Lobb, Pardi, and others reviewed the underlying

business and approved it for sale by Canaccord’s sales team such as Ginsberg. Second, Ginsberg

and other Canaccord sales people sought out to solicit debt and equity investors for the Canaccord

Project.

       70.      At the same time of the Canaccord Project, Canaccord was also trying to solicit

investors for another purported business of the Founders, known as VeroLube. VeroLube was a

business completely unrelated to VBF, and ultimately, upon information and belief, equally as

unsuccessful as VBF. Therefore, Canaccord’s ties to the Founders ran deep.

       71.      Ginsberg and others at Canaccord met with Founder Wulf three times in or around

May and June 2015 to collaborate on the Canaccord Project. There were also many email

communications between these Canaccord representatives and the Founders, especially Wulf and

Hall, on many occasions in the time period of in or around January 2015 to summer of 2016.

Ginsberg also had fairly regular telephone calls with Wulf and perhaps other Founders, as well as




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other Canaccord representatives, during in the May to July 2015 time frame. VBF and Canaccord

also had an electronic “data room” for the Canaccord Project, allowing for the further sharing of

information.   Through these communications and information sharing, the Founders and

Canaccord shared and revised data related to VBF’s business and the Metrics, and in turn made

representations regarding the same in Reports.

       72.     Overall, Canaccord employees such as Lobb, Goodman, Ginsberg, and other

Canaccord representatives contributed to Reports that resulted in the ultimate transmittal and

continuation of false and misleading information as to VBF’s operations and performance to

disinterested VBF directors, and others. The time period of the Canaccord Project, from in or

around January 2015 to in or around summer 2016, was a critical period when the Founders and

Canaccord solicited and obtained funding for VBF (and the Founders, Lobb, and/or Goodman

continued to represent such data thereafter).

       73.     Similarly, in a May 31, 2015 email from Wulf to Ginsberg and others at Canaccord,

Wulf transmitted a valuation of VBF prepared by Hall that valued VBF at $32,500,000 at that

time. A true and correct copy of this email and valuation is attached as Exhibit 3. This valuation

was purportedly based in part on data of VBF’s then-current operations and finances, and

demonstrated that Canaccord was soliciting equity investment of $25,000,000 in VBF, in addition

to an alleged debt commitment of $26,000,000. This document also includes a $10,800,000

“promote fee” to the Founders for their alleged work done on VBF to date. As is clear from Section

V above, the Founders ultimately procured the approximate equivalent to this amount, if not more,

through misappropriations from VBF. This valuation was ultimately incorporated into Canaccord-

Founder representations alleged herein.




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       74.     One example of Canaccord-Founder representations is the “Third June 2015

Written Representations,” which are further alleged in other sections relating to specific Metrics

below. A true and correct copy of the Third June 2015 Written Representations is attached as

Exhibit 4. The first page contains the notation, “CG-NYC,” as in “Canaccord Genuity-New York

City,” to demonstrate Canaccord’s input into this document, and dispersing of the information set

forth therein to the marketplace.     The Third June 2015 Written Representations were the

culmination of the collaboration between Canaccord and the Founders that began in or around

January 2015 and which purported to be based on actual and then-current VBF data. Canaccord

directly revised representations contained in these written representations. Further, the Third June

2015 Written Representations were represented to be based on actual data from the operations of

VBF and its predecessor, Iowa’s First, dating back to 2012.

       75.     Ginsberg was introduced to a preeminent aquaculture expert Anthony Michaels,

PhD (“Dr. Michaels”) in or around early June 2015. Dr. Michaels is an aquaculture consultant and

investor who performed diligence on VBF in regards to a possible investment for his firm or other

firms. Ginsberg came to know that Dr. Michaels had extraordinary expertise in the indoor and

outdoor aquaculture industry, and at the time there was a dearth of experts as to the indoor

aquaculture industry.

       76.     In a June 5, 2015 email, Ginsberg introduced Dr. Michaels and his expertise to Wulf

because Dr. Michaels was an aquaculture expert.

       77.     On June 7, 2015, Canaccord and the Founders finalized the Third June 2015 Written

Representations.




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       78.     On June 12, 2015, Ginsberg, Wulf, and Dr. Michaels had a conference call to

discuss VBF. Ginsberg provided the Third June 2015 Written Representations to Dr. Michaels

shortly before the call to prepare Dr. Michaels for the call.

       79.     Dr. Michaels reviewed the Third June 2015 Written Representations. Thereafter,

by June 15, 2015, Dr. Michaels advised Ginsberg in an email, a true and correct copy of which is

included in Exhibit 5, that:

       We find multiple significant errors in the numbers and weaknesses in the [Third June 2015
       Written Representations] assumptions, all of which over-inflate the economics and
       understate the risks. As a result, we are not comfortable helping the company with its search
       for capital through any of (sic) of our existing relationships.

       80.     Ginsberg described Dr. Michaels’ findings as “very negative feedback.” Ginsberg,

on behalf of Canaccord and the Founders, asked Dr. Michaels for more specificity, and Dr.

Michaels obliged.

       81.     As set forth in Exhibit 5, on June 15, 2015, Dr. Michaels provided more specifics

such as: (a) that the Founders’ reported data as to water flow, water oxygenation, and water

cleanliness was “almost at the theoretical limits and it is almost impossible to be that close”

(meaning that the Founders’ representations as to these crucial metrics were fantasy); (b) that the

Founders’ other reported data as to those water issues “is 5 times better than the best that has ever

been done commercially, but when compared to the water chemistry-it would kill the fish” (i.e.

because there would be too many lethal elements in the water); and, (c) referring to the OFT, “[t]he

technology is not as new as claimed and multiple companies have gone bankrupt on similar

systems. The operators of these kind of systems have never met the claimed spec in commercial

practice at scale over extended periods.”

       82.     Dr. Michaels’ last statement turned out to be a prophecy for VBF, which filed for

bankruptcy in 2018 based on the Founders’ and Canaccord’s fraudulent advancement of the OFT



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“system” criticized in Dr. Michaels’ findings. The Founders and Canaccord concealed this

prophecy of bankruptcy from potentially interested third parties, and ultimately from disinterested

VBF directors.

       83.       Indeed, with Dr. Michaels’ permission, on June 16, 2015, Ginsberg forwarded the

response to Wulf who immediately forwarded it to the other Founders, with the message: “Les

[Wulf], see below as discussed on the phone earlier.” Exhibit 5. This indicates that Ginsberg and

Wulf spoke on the phone about Dr. Michaels’ negative findings on June 16, 2015. Dr. Michaels

authorized Ginsberg to share his thoughts with the Founders for altruistic reasons, i.e. partly so the

Founders would not make such misrepresentations to others.

       84.       Later that same day, June 16, 2015, Wulf forwarded Ginsberg’s email and Dr.

Michaels’ report to the other four Founders with the message: “See below from the expert . . .

Clive [Ginsberg] thinks he is jealous because he spent 7 years and did nothing in industry.” Exhibit

5. Therefore, the Founders blatantly disregarded Dr. Michaels’ specific and pointed criticism of

the Founders’ misrepresentations because the truth spoken by Dr. Michaels would have prevented

any reasonable investor or lender from providing funds to VBF. Further, this truth, if known by

disinterested VBF directors, would have caused such directors to seek to cease VBF’s business

and pursue the Founders, not release them.

       85.       At his May 2019 deposition, Ginsberg testified that he never told Wulf that Dr.

Michaels was “jealous” of the Founders or VBF. Additionally, Ginsberg never told Wulf that Dr.

Michaels never did anything in the industry, which would have been an outright lie. Indeed, Dr.

Michaels is an aquaculture expert with decades of experience, who has a PhD in an aquaculture

discipline, taught aquaculture-related classes at the University of Southern California for about

twelve years, was an investor in aquaculture businesses for years, and was referred to by Wulf




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himself as an aquaculture “expert.” Ginsberg confirmed that Dr. Michaels, to his knowledge, had

more indoor aquaculture expertise than anyone who had reviewed VBF.

       86.     Dr. Michaels also relayed other extremely negative information about VBF to

Ginsberg through June 15, 2015 emails. Ginsberg admitted at his May 2019 deposition that “100

percent” (certainly) VBF potentially interested third parties, which would include those who

became disinterested board members, should have been advised of Dr. Michaels’ findings by the

Founders and Canaccord. Ginsberg further testified at that deposition that “I would have definitely

passed this [Dr. Michaels’ findings] onto any of my investor base had they shown any inkling of

interest I would have certainly passed it on, yes.”

       87.     However, such disclosure never occurred, including to VBF disinterested directors

or other independent parties to VBF’s knowledge, including, but not limited to, in the many written

representations by the Founders and Canaccord as alleged herein. Thus, the Founders and

Canaccord ignored Dr. Michaels’ warnings, as they previously did with Dr. Kevin Fitzsimmons’

September 2014 warnings about fatal flaws and false data in VBF’s representations (as alleged

below). This firmly demonstrates that Canaccord and the Founders were in harmony as to their

wilful ignorance of multiple warnings from industry experts that VBF would fail (and even that it

would go “bankrupt,” as VBF did in 2018).

       88.     Another example of Canaccord’s and the Founder’s joint manipulation and

misrepresentation of VBF data can be seen in a July 7 to July 10, 2015 email chain amongst Wulf,

Ginsberg, Lobb, Pibl, and another Canaccord representative, a true and correct copy of which is

attached as Exhibit 6. By this point in time Canaccord and the Founders were disappointed with

the reception in the marketplace received by VBF, and had Dr. Michaels’ and Dr. Fitzsimmons’

stark and negative findings in hand. To artificially drum up interest in VBF, Wulf advised




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Ginsberg to advise potentially interested parties of “the story we have over 50% book full,”

meaning that Wulf advised Ginsberg to represent to others that VBF had commitments to 50% of

its targeted equity investment, then $25,000,000 (or $12,500,000 in represented commitments).

This was false as VBF had no such commitments at that time.

       89.     The collaboration between Canaccord and the Founders is further alleged below in

the context of representations made as to specific Metrics or other specific sub-issues.

C.     Founders’ and Canaccord’s Misrepresentations of The Metrics

       90.     As to technology, the Founders promoted the “Opposing Flows Technology”

(“OFT”), which allegedly was VBF’s proprietary technology, its “secret sauce,” through which

the currents in its Tanks would supposedly perform better than VBF’s competition in supplying

clean and oxygenated water to fish growing in VBF’s Tanks.

       91.     In reality, as later learned by VBF, the Founders consistently lied about, and over-

exaggerated a number of important technical and performance data, including, the OFT and the

Metrics.

       92.     In a typical aquaculture business, the Metrics are the building blocks of the “bio-

plans.” A bio-plan is an aquaculture business’ way of organizing its business around the Metrics,

based on actual data. A bio-plan that incorporates actual and traditional financial metrics, such as

revenue, costs, and EBITDA, can be characterized as a “business plan.”

       93.     However, the Founders did not materially base their “bio-plans” on actual, proven,

performance data, but rather, on the Founders’ invented data that many times was misrepresented

as data reflecting VBF’s actual operations.

D.     The Founders’ Misrepresentations of FCR

       94.     The Founders consistently represented a FCR of approximately 1:1 to VBF and

third parties, including disinterested VBF directors. After terminating the Founders, disinterested


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VBF directors and officers learned that VBF’s FCR was never even close to 1:1 (and certainly not

on the consistent or material basis represented by the Founders). And, after terminating the

Founders and after consulting with aquaculture experts, VBF learned that an FCR of 1:1 on large

scale would be very hard, if not impossible, to achieve in an indoor or “closed” aquaculture system

in the United States given its stricter environmental laws as compared to other countries where

aquaculture competitors exist, such as China and Vietnam. Below are some, but not all of the

Founders’ various FCR misrepresentations.

       95.     In an excel file that Hall created on June 25, 2014 (the “June 2014 Written

Representations”) and amended for the last time on May 31, 2016, Hall lists VBF’s FCR as 1:1.

A true and correct copy of the excel file is attached as Exhibit 7. The June 2014 Written

Representations were provided to potential and actual investors, including but not limited to, Alder

Aqua, Ltd. (“Alder”), which ultimately appointed directors to VBF. Additionally this information

was, on information and belief, passed onto other disinterested VBF directors and employees.

       96.     Attached as Exhibit 8 is a true and correct copy of a September 2014 PowerPoint,

prepared and reviewed by the Founders (“September 2014 Written Representations”), which,

contains information that was ultimately circulated to disinterested VBF directors and potential

and actual VBF lenders and investors. In the September 2014 Written Representations, the

Founders represented that VBF would achieve a “1:1” FCR (at p. 20).

       97.     On September 17, 2014, Kevin Fitzsimmons PhD, an aquaculture expert and an

alleged member of VBF’s “advisory board” (as further addressed below), reviewed the September

2014 Written Representations and advised Driver of serious flaws therein. A true and correct copy

of Dr. Fitzsimmons’ email to Driver (“September 2014 Fitzsimmons Email”) is attached as

Exhibit 9. As it relates to FCR, Dr. Fitzsimmons warned Driver that “[a]n FCR of 1 to 1 is also




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rare. Most farms are much closer to 2 to 1 when they start and edge down to 1 to 1.5 on typical

operations.” Driver in turn forwarded the September 2014 Fitzsimmons email to Wulf, James Rea,

and Ted Rea, as set forth in Exhibit 9. In that forwarding email, Driver noted Dr. Fitzsimmons’

negative comments about VBF’s data, including FCR and EBITDA, to the other Founders.

       98.     As they later did with Dr. Michaels, the Founders, however, ignored Dr.

Fitzsimmons’ input since the truth was an impediment to their ability to raise funds. Instead, the

Founders continued to represent that VBF was achieving a 1:1 FCR when VBF was in fact not

doing so. For example, in a November 2014 PowerPoint also prepared and reviewed by the

Founders (“November 2014 Written Representations”), the Founders again represented an FCR of

1:1 or less. The information contained in the November 2014 Written Representations was, on

information and belief, shared in some form ultimately with disinterested VBF directors and/or

potentially interested third parties.     A true and correct copy of November 2014 Written

Representations is attached as Exhibit 10 (at p. 13, 18).

       99.     Similarly, in a PowerPoint entitled “Opposing Flows Aquaculture Tank System

Performance Data-Barramundi at Blairsburg, Iowa Facility November 2014 to April 2015,” also

prepared and reviewed by the Founders (“April 2015 Written Representations”), the Founders

again represented an FCR of 1:1 or less, claiming (at the last page) that the “AVERAGE FCR

ACROSS FULL LIFECYCLE IS 1.038:1,” based on “operation data and taking into account

conservatism through calculations.”        A true and correct copy of the April 2015 Written

Representations is attached as Exhibit 11. The April 2015 Written Representations were based

on alleged data from the Nelsons.         The information contained in the April 2015 Written

Representations was, on information and belief,ultimately shared with disinterested VBF directors

and/or potentially interested third parties.




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       100.   The Founders also provided the April 2015 Written Representations to Fisheries

Technology Associates, Inc. (“Fisheries”), a consultant doing diligence on VBF for a potential

lender and/or shareholder in June 2015. Fisheries prepared a “Due Diligence Report” based on

same (“July 2015 Fisheries Report”). A true and correct copy of the July 2015 Fisheries Report is

attached as Exhibit 12.

       101.   Specifically, based on data that the Founders (and especially Driver), upon

information and belief, provided Fisheries, Fisheries concluded that VBF’s performance data

“appears to confirm feed conversion ratio (at or near 1.0 pounds of feed per pound of fish) and

growth rates (reaching 2.2 pounds in 6 months).” The July 2015 Fisheries Report was provided to

potential and actual investors, including but not limited to, Alder, which ultimately appointed

directors to VBF. Additionally this information was, on information and belief, passed onto other

disinterested VBF directors and employees.

       102.   Likewise, in a February 16, 2015 writing prepared by Driver, Driver represented

that VBF’s FCR was 1.03:1 (“February 2015 Written Representations”). The February 2015

Written Representations were also provided to Fisheries sometime in June 2015. A true and correct

copy of the February 2015 Written Representations is attached as Exhibit 13.

       103.   Similarly, in a March 25, 2015 spreadsheet prepared by Goodman (of Canaccord

and later VBF) and modified by Hall (“March 2015 Written Representations”), a 1:1 actual FCR

was again represented. A true and correct copy of the March 2015 Written Representations is

attached as Exhibit 14.

       104.   In June 2015, at least one of the Founders made a written representation that the

average feed conversation ratio was “1:1 pound of feed per pound of weight gain” (“First June

2015 Written Representations”).     A true and correct copy of the First June 2015 Written




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Representations is attached as Exhibit 15 (at p. 4). The First June 2015 Written Representations

were made to potential and actual investors, including but not limited to, Alder, which ultimately

appointed directors to VBF. Additionally this information was, on information and belief, passed

onto other disinterested VBF directors and employees.

       105.    Also in a June 2015 email, Hall made written representations that excluded fish

feed in the calculations of FCR. Hall first sent his email to Driver, Wulf, Ted Rea, and James Rea

for their approval and then, presumably after they approved, he sent the e-mail to a potential lender

(“Second June 2015 Written Representations”). A true and correct copy of the Second June 2015

Written Representations and the draft of same to the Founders is attached as Exhibit 16-1 and

Exhibit 16-2. In the Second June 2015 Written Representations, Hall admitted that VBF does not

always track FCR as it “as it takes a considerable amount of staff time during a period of relative

‘steady-state’ operation.” This disclosure, however, was not made by the Founders in other

representations alleged herein and demonstrates the reckless way in which the Founders

represented important Metrics to potentially interested third parties and disinterested directors.

       106.    Similarly, in June 2015, the Founders provided data to Canaccord for materials

intended for potential lenders and/or shareholders, including that VBF then enjoyed an “industry-

leading [FCR] of 1:1” (“Third June 2015 Written Representations”). A true and correct copy of

the Third June 2015 Written Representations is attached as Exhibit 4.

       107.    In late January and early February 2015, the Founders and Canaccord prepared a

written representation (“January/February 2015 Written Representations”) colloquially called a

“teaser,” which was modified by Canaccord and approved by VBF counsel Jackson Walker LLP

(“Jackson Walker”). This document made various misrepresentations of VBF’s technology and

market, including a representation that “Barramundi feed conversion in an OFT tank can reach




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1:1.” A true and correct copy of the January/February 2015 Written Representations is attached as

Exhibit 17. This document contains information that was, on information and belief, shared with

VBF disinterested directors and potentially interested third parties. A similar document was also

circulated to individuals at National Bank of Canada, which worked with Canaccord and the

Founders to disperse VBF information to the marketplace, and Sean Maniaci, a purported VBF

shareholder and counsel (as discussed more in-depth below). A true and correct copy of said email

is attached as Exhibit 18.

       108.    In an August 24, 2015 email from Wulf to Canaccord and National Bank of Canada

(“August 2015 Written Representations”), Wulf notes that they have modified the teaser and

marketing deck to “reflect the De-Risked nature and advanced nature of the present operations,”

and that Canaccord and National Bank of Canada should use “this copy on the big equity push.”

A true and correct copy of the August 2015 Written Representations and the attachments thereto

are attached as Exhibit 19. Wulf asserts that “[w]ith strong fish growth performance and industry

low food conversion ratio of 1:1 in the OFA tank system, the impact of increases in fish meal cost

effect of feed costs are for every $100 per metric ton increase impacts the price of feed to VBF by

only $.015 per pound.”

       109.    Then, on October 22, 2015, Wulf sent Canaccord VBF’s sales metrics and gross

profits and again noted the 1:1 FCR (“October 2015 Written Representations”). A true and correct

copy of the October 2015 Written Representations is attached as Exhibit 20. This email also

represents unrealistic growth rates and utility costs. Finally, Wulf represents that there is no “scale

up risk going from our present operations to 240 tanks in the Urban Farms expansion.”

       110.    In a November 5, 2015 presentation (“November 2015 Written Representations”)

the Founders represented that data from their internal software system supported an FCR of “1.03:1




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or lower.” A true and correct copy of the November 2015 Written Representations is attached

hereto as Exhibit 21. The November 2015 Written Representations were made to potential and

actual investors, and such data was included in representations ultimately made to Alder, which

ultimately appointed directors to VBF, and additionally this information was, on information and

belief, passed onto other disinterested VBF directors and employees.

       111.    Starting in August 2016 and continuing most months until November 2017, the

Founders made written representations to disinterested VBF directors regarding the FCR. The

Founders reported an FCR of 1.01 for the periods of July 2016 through February 2017 (Exhibit

22-1 through 22-7 at p. 2). In February 2017, the Founders reported that VBF’s FCR was 1.03

for March 2017, and continued to represent an FCR of 1.03 through May 2017 and again in August

2017 (Exhibit 22-8 through 22-10 & 22-13 at p. 2). In June and July of 2017, the Founders

reported an FCR of 1.02 (Exhibit 22-11 through 22-12 at p. 2). Then, in September 2017, the

FCR spiked to 1.483 (Exhibit 22-14 at p. 2). In November 2017, it was 1.42 (Exhibit 22-15 at

p.2). (collectively, “2016 and 2017 Written Representations to the Board”). A true and correct

copy of the 2016 and 2017 Written Representations to the Board is attached as Exhibit 22.

       112.    In July 2017 VBF hired McCowan, who, later in 2017, came to suspect that VBF’s

real FCR was not 1:1. McCowan thereafter performed FCR testing and otherwise investigated

VBF’s FCR. After VBF terminated the Founders, McCowan discovered that VBF’s real FCR at

relevant times was 1.4:1, if not higher, not the 1:1 ratio consistently represented by the Founders

and Canaccord. Thus, the Founders, at various and numerous times, falsely represented VBF’s

FCR to disinterested VBF directors and others. This was despite warnings from Drs. Fitzsimmons

and Dr. Michaels, and actual VBF operational results, showing that VBF was not achieving a 1:1




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FCR. The Founders also based VBF’s financial modeling, provided to disinterested VBF directors

and potentially interested third parties, on false data.

        113.    The FCR misrepresentation is material because an increase in FCR attributes to a

40% increase in VBF’s number one expense: fish feed. Thus, any increase in FCR has a

tremendously negative impact on VBF’s return on investment or the decision of disinterested

directors to continue VBF’s operations.

        114.    Ultimately, the actual FCR was far less efficient than what the Founders represented

and the impact of this misrepresentation is that VBF was actually spending many times more to

feed fish than the Founders and Canaccord represented, which affected reports of VBF’s

operations and financial situation and projections.

E.      The Founders’ Misrepresentations of Density

        115.    The development stages of commercially grown fish can be summarized as: eggs

to hatchling (larvae) to spawn to fry (when the fish is out of its egg and can feed on its own) to

fingerling. A fingerling has been described as the last phase of the juvenile stage of fish, before it

becomes an adult. Commercial growers of fish start with fingerlings, and therefore must either

grow fingerlings or purchase them from another source. Upon information and belief, VBF bought

fingerlings from a third party (“Mainstream”) but this is subject to VBF’s accounting count.

        116.    When VBF was starting its operations in early 2015, the Founders knew that 10,000

to 12,000 fingerlings per tank was optimal, i.e. after an aquaculture business was up and running

for years under experienced operators, operating efficiently, and operating profitably. Their

knowledge is reflected in representations that the Founders made (shown below), though, in

reality, VBF never achieved the Density in the way that the Founders represented to others.




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       117.    In the February 2015 Written Representations prepared by Driver, and provided by

Canaccord to others in June 2015, Driver represented that VBF’s Density is “reaching 10,000 lbs

per tank.” See Exhibit 13.

       118.    In in the First June 2015 Written Representations, Driver and/or other Defendants

represented that VBF Tanks were stocking “16,000 fingerlings (40-60 gram) per pod every two

months” with a “1:1 pound of fish per gallon of water” Density. See Exhibit 15 (at p. 4). The

First June 2015 Written Representations were made to potential and actual investors, including but

not limited to, Alder, which ultimately appointed directors to VBF, and additionally this

information was, on information and belief, passed onto other disinterested VBF directors and

employees. This was a false representation as VBF was not achieving such Density on a consistent

basis, and never a profitable basis.

       119.    In a June 20, 2015 e-mail, Wulf made a written representation to Goodman (of

Canaccord) that VBF’s base model used a Density of 10,000 fish per tank but “today we are

stocking at 16,000 a 6,000 difference …in pounds produced out of each tank” (the “June 20, 2015

Representations”). A true and correct copy of this email is attached hereto as Exhibit 23.

       120.    In response to the June 20, 2015 Written Representations, Goodman further

explained that stocking at 16,000 results in an increase of the average harvest per tank of

approximately 58% greater than the model which assumed 10,000 stocking per tank. Id.

       121.    Earlier that day, Goodman, in an email to Lobb (then working for VBF), Wulf, and

Hall stated “I think if we list the assumptions that are conservative and show the impact of each

on performance we can address this. For instance, change the assumed stocking density of 5,000

to 8,000 per tank would improve EBITDA by certain multiples.” A true and correct copy of this

email is attached as Exhibit 24. This further demonstrates the “reverse engineering” fraudulent




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technique engaged in by Canaccord and VBF; that is to start with the numbers that these

Defendants wanted to represent to the marketplace and others without regard to actual and contrary

VBF data and reality, which was negative. Ginsberg described Goodman’s manipulation of

Density set forth above as a way to “juice up the numbers” at his May 2019 deposition. The

Founders continued in this modus operandi, misrepresenting actual VBF data and “juicing up the

numbers,” to disinterested VBF directors throughout the Founders’ tenure at VBF.

       122.    In a June 22, 2015 email chain amongst Wulf, Lobb, Goodman, Ginsberg, and Pibl,

Wulf expressed disappointment that a recent “equity roadshow” that Canaccord and Wulf led in

New York in order to find an equity investor for VBF, yielded little interest in VBF. A true and

correct copy of this email chain is attached as Exhibit 25. Rather than taking the right approach

by acknowledging VBF’s shortcomings and ceasing efforts to market VBF, the Founders and

Canaccord then stepped up their manipulate and misrepresent data to increase interest in VBF. For

example, in this email chain, Wulf suggested further misrepresentations of actual and then-current

VBF operational and financial data, including Density, to entice others into VBF.

       123.    Further, the July 2015 Fisheries Report cautioned that the VBF-provided stocking

density data of one lb/g “is admirable, but should be approached with caution and care, and only

after many months of company experience and management by experienced operators.” Exhibit

12 (at p. 5). This report also comments that densities of “0.2-0.7 pounds per gallon are more typical

at other facilities with a similar production configuration.” Id. Upon information and belief, the

July 2015 Fisheries Report relied on data provided by the Founders, including false data relating

to the Density of the VBF Tanks, which was shared with potential and actual investors, including,

in some form or another, investors who actually became or appointed disinterested VBF directors.




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       124.    Despite these cautionary words, in an August 23, 2015 presentation, which is part

of the August 2015 Written Representations and the October 1, 2015 marketing presentations, the

Founders represented that VBF “has successfully been stocking a six tank pod with 16,000 fish or

a 60% increase, representing $11M in additional EBITDA” (“October 2015 Written Marketing

Presentation Representations”). The information was, on information and belief, shared with

disinterested VBF directors and/or potentially interested third parties and is misleading because a

“pod” is made up of six tanks. The Founders were intentionally deceptive in describing the Density

in a “six tank pod,” to give the illusion that VBF had achieved a Density of 16,000 fish per Tank.

A true and correct copy of the October 2015 Written Marketing Presentation Representations is

attached as Exhibit 26 (at p. 11). See also Exhibit 19 (Marketing Presentation at p. 11).

       125.    The October 2015 Written Representations also notes a Density of 10,000 fish per

6 tank configuration, but that VBF is stocking 16,000 fish per six pack of Tanks. See Exhibit 20.

       126.    In the November 2015 Written Representations the Founders represented that data

from their internal software system supported a Density “originally with 10,000 fish per tank but

VBF has validated stocking up to 16,000 fish per tank, a 60% increase. See Exhibit 21. The

November 2015 Written Representations were made to potential and actual investors, including

but not limited to, Alder, which ultimately appointed directors to VBF, and additionally this

information was, on information and belief, likely shared with disinterested VBF directors and

employees.

       127.    Likewise, as reported by a member of the Nelson family who also worked for VBF,

as of the fall of 2015, the Founders were promoting Reports calling for 15,000 fish per Tank, when

this family member’s data showed that VBF could only safely introduce 5,000 to 6,000 fish per

Tank. This individual reported his concerns to Driver and Ted Rea. However, the Reports




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continued to use the artificially inflated numbers. And, as reported by this individual, Wulf would

often push VBF’s Density representations to 15,000 to 20,000 fish per tank.

       128.    The Founders continued to misrepresent the actual Density of the Tanks in a

January 2016 “Executive Summary” and Marketing Deck (“January 2016 Written

Representations”), which stated that VBF was “currently stocking 16,000 fish per tank.” The

January 2016 Written Representations were made to potential and actual investors, including but

not limited to, Alder, which ultimately appointed directors to VBF, and additionally this

information was, on information and belief, passed onto other disinterested VBF directors and

employees. A true and correct copy of the January 2016 Written Representations is attached as

Group Exhibit 27 (Executive Summary at p. 2).

       129.    The January 2016 Written Representations also represented both that “VBF has

successfully been stocking a six tank pod with 16,000 fish or a 34% increase over the model

stocking.” Exhibit 27 (PowerPoint at p. 15).

       130.    Similarly, in January or February of 2016, Driver, while walking a group of

potential investors through VBF’s facilities, misrepresented to those investors that VBF could

stock 16,000 fish per tank (“January 2016 Oral Representations”).          One of Driver’s own

subordinates advised him in or around that time that VBF was not meeting these Density

representations and that it would be impossible for VBF to viably do so.

       131.    Then, in April 2016, the Founders, particularly Wulf and Hall, created or

contributed to an Excel file which represents that Density would increase from 12,000 to 16,000

fish per Tank (“April 2016 Written Representations”). The April 2016 Written Representations

were made to potential and actual investors, including but not limited to, Alder, which ultimately

appointed directors to VBF, and additionally this information was, on information and belief,




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passed onto other disinterested VBF directors and employees. In May, Wulf also sent the April

2016 Written Representations to non-Founder director Bjorn Thelander (“Thelander”), who was

appointed by Alder. A true and correct copy of the April 2016 Written Representations is attached

as Group Exhibit 28.

       132.    In the Founders’ August 2016 board report, the Founders represented that one of

VBF’s facilities was stocking “16,000 fish per tank.” See Exhibit 22-1 (p. 2) (emphasis added).

In the September and October 2016 board reports, the Founders misrepresented or were

intentionally deceptive regarding the Density, stating: “16,000 fish per six pack tank

configuration.” Exhibits 22-2 & 22-3 (p. 2) (emphasis added). In the May 2017 board report, the

Founders represented that VBF was “back to 12,000 first stocking and 14,000 forward stocking.”

Exhibit 22-10 (p. 2)

       133.    Thus, the Founders consistently and falsely claimed that VBF was achieving a

Density of 16,000. In reality, the actual Density was either far less or, even if 16,000 fish were

stocked at any given time, there was a significant impact of that Density on fish health (increasing

mortality) and the water quality, which the Founders also concealed. In other words, while it is of

course possible to stock 16,000 fish in a Tank no matter how poor the aquaculture business is

operationally, more will die in the hands of such a business.

       134.    The impact of the 16,000 Density representation from a financial perspective is

significant, including but not limited to, its correlation with annual production (i.e., a larger

represented Density would support a larger represented pounds per production).

       135.    At various times, the Founders failed to include Density numbers in their Reports

that they shared with third parties or the Founders changed the pounds of production without any

corresponding change in Density.




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           136.   For example, in the June 20, 2015 Written Representations, Wulf represented to

Canaccord that VBF’s production per Tank increased from 20,000 pounds to 31,500 pounds

because of a change in Density from 10,000 to 16,000 fish per Tank. Because of the increased

pounds per tank, Wulf represented that EBITDA would increase from $17 million to $40 million

in the second year of production. Exhibit 23. A Canaccord consultant and later a VBF employee,

Goodman, restated Wulf’s representations to explain that VBF was currently stocking 16,000 fish

per tank.

           137.   Upon information and belief, Wulf and other Founders (and Canaccord

representatives) created the June 20, 2015 Written Representations because these Defendants knew

that VBF’s business model did not include sufficient working capital to take on millions of dollars

in debt.

           138.   Wulf shared the June 20, 2015 Written Representations with Canaccord, among

others, stating that VBF is “stocking at 16,000 fish in the first tank, for an average harvest per tank

of approximately 58% greater than assumed in the model.” A true and correct copy of this

document is attached as Exhibit 29.

           139.   The Founders’ deliberate misrepresentations relating to VBF’s pounds of

production is perhaps best evidenced by two drastically different models both dated June 30, 2015,

which were both represented to be based on actual data. In one model, the Founders represented

that VBF produced 20,000 pounds of fish per year per Tank. In the other model, the Founders

deliberately changed VBF’s pounds of production per year to 34,650 per Tank (together, the “June

30, 2015 Models”). True and correct copies of the June 30, 2015 Models are attached as Group

Exhibit 30. This information was, on information and belief, sent to disinterested VBF directors

and employees.




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       140.    The financial impact of the changes in the pounds of production per Tank per year

was a 115% in the return on investment in year 2 of VBF’s production and a 255% return on

investment in year 3 of VBF’s production. Group Exhibit 30.

F.     The Founders’ Misrepresentations of Mortality Rates

       141.    The Mortality Rate Metric is closely aligned with the Density Metric and other

Metrics. For example, if an aquaculture business is stocking too many fish per tank, many fish

die. In that circumstance, the Density number may look positive, but the Mortality Rate, if

accurately represented, will be commensurately negative. The Founders often concealed or

skewed the inter-relationship amongst the various Metrics to give the false appearance of

efficiency and profitability, sometimes telling half-truths and other times outright falsities.

       142.    VBF’s former operations manager, a member of the Nelson family, advised that

when individuals, including potentially interested parties, toured VBF’s facilities from the summer

of 2015 through the summer of 2016, they would view written, recorded data on individual Tanks

regarding Density and Mortality data for that particular Tank. Wulf initially asked this operations

manager and others to alter the Mortality Rates depicted on this documentation to make them lower

than they actually were to falsely represent Mortality. When some of Wulf’s subordinates refused,

the Founders instead directed VBF employees to remove this documentation from the Tanks.

       143.    During that same period, Driver advised VBF fish technicians and other personnel

to “be vague” when speaking to others about Mortality Rates and other actual VBF performance

Metrics. Later, the Founders limited VBF employees’ contact with potentially interested third

parties to the Founders and one other person, to avoid VBF employees revealing the truth.

       144.    This operations manager also has reviewed data provided by the Founders,

including Driver, which represented, in writing, Mortality Rates “lower than [the operations




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manager] has ever seen in our system” according to the operations manager. This was an untrue

statement.

       145.    In the April 2016 Written Representations where Wulf provided data to potential

and actual investors and disinterested VBF directors including Thelander, Alder, and others,

VBF’s Mortality Rate was represented as 3%. This Mortality Rate was deceptively low because

it reported the loss of fish per month rather than the cumulative loss of fish over several months.

Exhibit 28.

       146.    In their 2016 and 2017 Written Representations to the Board, the Founders reported

“average death loss bio mass” for the prior month between 4% and 10.28% (in August 2016, 4%;

in September 2016, 7.48%; in October 2016, 8.44%; in December 2016, 5.2%; in January 2017,

2.78%; in February 2017, 2.54%; in March 2017, 3.55%; in June 2017, 10.28%; and in August

2017 between 2.108% and 3.565%). Exhibit 22 (p. 2). In reality, the Mortality Rates were much

higher, as alleged below.

       147.    In spring 2017, the aforementioned VBF operations manager met with Ted Rea to

discuss the manager’s concerns about VBF’s Mortality Rates at one of its facilities, which “were

through the roof.”

       148.    In the summer of 2017, there were one or more significant “fish loss [death] events”

at VBF, especially at the St. Louis facility (collectively, “Fish Loss Events”). The Founders

covered up the cause, extent, and frequency of these Fish Loss Events to disinterested VBF

directors. For example, in response to a board member’s direct question in September 2017, Ted

Rea misrepresented that Fish Loss Events had been solved. In fact, the fish mortality problem

was not solved and persisted at the time Ted Rea made this misrepresentation.




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       149.    After the Founders were terminated, and through its own internal investigation,

VBF learned the actual Mortality Rates were as follows: in 2015 only four of 17 batches were

16,000 or more fish and the Mortality Rate on the four batches was 19.25%; in 2016, only 8 of 21

batches were 16,000 or more fish and the average Mortality Rate was 38.03% for the 8 batches; in

2017, the standing bio-mass was 164,675 pounds and the average Mortality was 17.2%. These

numbers are contrary the grossly more optimistic data reported in the 2016 and 2017 Written

Representations to the Board.

       150.    Overall, VBF’s preliminary investigation shows that in 2015 up through July 2016,

VBF lost approximately 36% of its fish to Mortality in all Tanks.

G.     The Founders’ Misrepresentations of Water Quality

       151.    The Founders also represented in the September 2014 Written Representations

(Exhibit 8, p. 28) that VBF’s Tanks, thanks to VBF’s OFT, which supposedly innovated how to

regulate currents in the cultivation Tanks, “have a continual flow of clean purified water,

eliminating any algae, harmful bacteria, ammonia and nitrates.” The Founders further represented

therein that VBF’s technology left “very little food or fish waste in the water, which gives the fish

a higher fillet yield and a cleaner taste as compared to fish grown in the wild.”

       152.    In response, Dr. Fitzsimmons warned in the September 2014 Fitzsimmons Email

that “OFT has not developed a good ‘scientific’ record of removing nitrates, harmful bacteria or

off flavors. At this point, we are having to accept the claims of the developer and a few farmers.

It may be true, but I am not aware of any technical, peer reviewed science to support the claims.”

Exhibit 9.

       153.    Similarly, in the Third June Representations that the Founders provided to

Canaccord and that Canaccord shared with Dr. Michaels and likely others, the Founders

represented that VBF’s technology would require very little energy – only 1.3 KW or $0.11 per


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pound of production – to recirculate the water, add oxygen back in the water, and clean up the fish

waste. The Founders stated that there was “no need or expense to ‘create’ oxygen’ and infuse into

the water” with forced air technology. Exhibit 4 (p. 25). In reality, under the Founders’ control,

VBF’s tanks experienced a build-up of ammonia – which is fatal to fish – because the technology

was unable to recirculate sufficient oxygenated water. A true and correct copy of the email chain

including Dr. Michaels’ response to the Third June 2015 Representations is attached as Exhibit 5.

       154.    Again, in the October 2015 Written Marketing Representations the Founders

continued to represent that the fish raised in VBF’s Tanks had a “continual flow of clean, purified

water, eliminating any algae, harmful bacteria, ammonia, and nitrates.” This information was, on

information and belief, presented to disinterested directors and potentially interested third parties.

Exhibit 26 (p. 31).

H.     The Founders’ Misrepresentations of EBITDA and Other Financial Metrics

       155.    Much of the fraud outlined above is also encapsulated in financial information

represented by the Founders to disinterested VBF directors, lenders, potential and actual investors,

and others. Time after time, the Founders ignored expert advice and warnings about the Founders’

dispersing of false data.

       156.    For example, the Founders represented in the September 2014 Written

Representations that VBF, or its predecessor Iowa’s First, was achieving a profit of about 46.59%.

Exhibit 8 (p. 32—dividing the operating costs by revenue). In response, Dr. Fitzsimmons warned

in the September 2014 Fitzsimmons Email that “[s]orry, but I do not buy the EBITDA figure.

Never heard of any fish crop with that kind of return….” Exhibit 9. The Founders only somewhat

adjusted the EBITDA figures in future representations, but such representations were still not

grounded in reality.




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          157.   The Founders not only misrepresented financial data regarding VBF’s actual

performance to such potential and actual investors, lenders, and disinterested directors; they also

continued to generate forecasts and projections based on financial assumptions contrary to VBF’s

actual results and that were wildly unrealistic. They nonetheless continued to knowingly make

such misrepresentations to disinterested VBF directors, potentially interested third parties, and

others.

          158.   In the October 2015 Written Marketing Presentation Representations (Exhibit 26)

the Founders misrepresented that: (a) VBF was operating with 45% gross margins (p. 5); (b) that

VBF would achieve $1.59 EBITDA/pound and 20,000 pounds per tank/year for $7.632 million in

EBITDA if VBF had 240 tanks, which it did (p. 13); and (c) that VBF has lowered its operating

costs in part by using blowers and not pumps (p. 30). This presentation not only misrepresented

actual VBF financial data, but included forecasts based on this flawed data. Further, in the October

2015 Written Marketing Presentation Representations, the Founders represented that “two world

renown [sic] debt funds” had validated “all of the present operating metrics for full scale

commercialization.” This gave potentially interested third parties and lenders the false appearance

of third party validation of VBF.

          159.   In the January 2016 Written Representations, the Founders represented to

potentially interested third parties and disinterested VBF directors that VBF would achieve an

estimated rate of return of 36% and 72% for investors by the end of year 2 and year 3, respectively.

Exhibit 27 (p. 1). The Founders also forecasted for VBF “EBITDA growing to $18 million in

year 2 and $37 million in year 3.” Obviously, VBF never even came close to these numbers, and

the Founders knew that VBF could not achieve these numbers at the time the Founders made these

representations.




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       160.    In a January 15, 2017 email (“January 2017 Written Representations”) the Founders

represented to disinterested VBF directors the following forecast for that same year, 2017:

         -    2017 Revenue: $15,141,620
         -    2017 Cost of Sales: $5,912,373
         -    2017 Total Expenses: $15,142,812
         -    2017 Net Income (Loss): $2,989, 287
         -    2017 EBITDA: $4,449,599

         -    2018 Revenue: $56,869,366
         -    2018 Cost of Sales: $19,235,719
         -    2018 Total Expenses: $27,164,337
         -    2018 Net Income (Loss): $30, 881,962
         -    2018 EBITDA: $32,675,553

A true and correct copy of the January 2017 Written Representations is attached as Exhibit 31.

These representations were based on false data and the Founders knew that these numbers could

not be achieved when they represented them. Indeed, VBF never came anywhere close to

achieving these numbers, despite the fact that the Founders made the above forecasts in the very

year that encompassed the first year of the forecasts.

       161.    From 2015 through dates in 2017, a VBF employee warned the Founders that

VBF’s actual results were not properly considered and represented in projections or forecasts that

the Founders provided to disinterested VBF directors, lenders, potentially interested third parties,

and others.

       162.    Similarly, one disinterested VBF director advised that a fundamental assumption

of financial data provided by the Founders was that VBF’s technology was effective and could

support a profitable business, when the truth is that VBF’s technology was fatally flawed as set

forth above. The Founders, despite knowing that its OFT technology was fatally flawed, continued

to solicit potentially interested third parties and lenders for VBF, and continued to make

representations to other disinterested VBF directors, that falsely assumed and portrayed VBF’s




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technology to be effective and profitable. These dynamics manifested themselves in the financial

information misrepresented by the Founders to disinterested VBF directors.

I.     The Founders’ Misrepresentations of Theirs and VBF’s Technical Abilities

       163.   The Founders generally misrepresented their ability to operate a sustainable fish

farm business. They also intentionally and/or with gross recklessness misused VBF funds in

furtherance of what the Founders knew to be a dead-end business early on in their reign over VBF,

as evidenced by the fact that the Founders never invested their own money in VBF.

       164.     In the November 2014 Written Representations (Exhibit 10), prepared by the

Founders, the Founders represented as follows:

             “Proven onshore, indoor fish farming platform” (p. 5). There was nothing proven
              about VBF or its predecessor. VBF never made any profit. It was a losing
              proposition from the start, and the Founders knew it would be so, which is likely
              why they did not invest any of their own money in VBF.

              “Operations management teamed with aquaculture industry experts” (p. 5). In
              reality, the Founders had little to no relevant aquaculture experience, and they
              shunned advice from experts when such advice was provided to the Founders.
              Similarly, the Founders represented in investor and lender solicitations circulated
              in 2015 and 2016 that they had an aquaculture-experienced “advisory board”
              behind VBF (p. 5). In fact, this advisory board appears to have had little to no
              involvement in VBF, and what little input was provided by the board was ignored
              by the Founders (as exemplified by the Founders’ ignorance of Dr. Fitzsimmons’
              warnings).

             “low cost of operations, industry-leading food conversion and superior fish growth
              rates” (p. 5). This was false.

              “barramundi . . . commands a premium” (p. 6). This was false, as barramundi is
              commoditized like many other types of fish, and barramundi never had the market
              demand represented by the Founders and falsely assumed in their forecasts
              provided to disinterested VBF directors and others.

             “Capacity to produce in excess of 4.3 million pounds [of fish] per year” (p. 6). This
              was false, as VBF’s actual production was about 73,000 for 2015, about 223,000
              pounds in 2016, and about 1,100,000 pounds in 2017. Later, the Founders upped
              the ante on this misrepresentation and represented from 6.7 million to 7.2 million
              pounds per year. The Founders knew that VBF was not achieving such amounts



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               when they made these representations, and also knew that VBF could never
               realistically achieve such numbers.

              “The landed cost of Barramundi fry in Iowa is US$0.28 per Fry” (p. 19). This was
               false, as the actual cost of fry (when a fish is out of its egg and able to feed itself)
               was about $0.40 per fry.

              “each [VBF] tank can produce 20,000 lbs of fish per year” (p. 23). This was false,
               as the actually capacity was significantly less.

       165.    In the April 2015 Written Representations (Exhibit 11), the Founders represented

as follows as to the actual performance of VBF’s tanks:

              That the “Average FCR across full lifecycle is 1.04:1.” This was false.

              A zero percent mortality rate is represented. This was false.

              The daily feeds listed in many of the stages of fish growth is false, failing to
               represent that as fish grow, they need more food.

       166.    In a May 12, 2015 Marketing Plan (“May 2015 Written Representations”), the

Founders made the following misrepresentations:

              VBF has “[d]eep financial and management resources (they can fund and lead)”
               (p. 4).

              VBF has “[p]roprietary technology which delivers cost and product benefits to land
               based fish” (p. 4).

              VBF has an “[e]xperienced sales group with strong industry connections” (p. 4).
               This is false as VBF never had such a sales team during the Founders’ reign over
               VBF.

A true and correct copy of this the May 2015 Written Misrepresentations is attached as Exhibit 32.

       167.    The Founders provided the May 2015 Written Representations to potentially

interested third parties, including, but not limited to, Alder, which ultimately appointed directors

to VBF, and additionally this information was, on information and belief, passed onto other

disinterested VBF directors and employees.            They also provided the May 2015 Written

Representations to Fisheries to prepare the July 2015 Fisheries Report.



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       168.    The Marketing Presentation that the Founders provided to Canaccord in the Third

June 2015 Written Representations (Exhibit 4), and then later to Dr. Michaels and, upon

information and belief, others, contained the following misrepresentations:

              “Barramundi. . . has a demonstrated demand profile in North America” (p. 4).

              “Deployment of exclusive technology allowing VBF to have the lowest cost of
               operations, industry-leading food conversion of 1:1, superior fish growth rates of
               market ready fish in 6 months, and strong economics” (p. 4).

              “VBF has the lowest feed conversion ratios, water consumption and operating
               costs” (p. 4).

              VBF has the “exclusive global rights to an industry-changing and patented fish
               culturing tank system,” the OFA (p. 4).

       169.    The October 2015 Written Marketing Representations (Exhibit 26), prepared by

the Founders and, upon information and belief, with input from Canaccord, contained the

following misrepresentations:

              “There is a 500M pound white fish shortage in North America” (p. 4). This was
               false.

              That VBF had achieved “superior fish growth rates of market ready fish in 6
               months” (p. 4). This was false, and VBF never did so at any measurable or
               sustainable level.

              “In protein production VBF has the lowest . . . operating costs” (p. 4).

              VBF had “proven and seasoned management team” (p. 5).

              “840,000 pounds of production and a 57% increase” (p. 6). In reality, production
               as of October 1, 2015 was 183,000 pounds.

              “Market risks have been mitigated. VBF has identified definite market demand for
               the first 15M pounds of Barramundi” (p. 6). Indeed, the largest barramundi seller
               as far as VBF knows sells only 6,000 pounds per week.

              Represents a joint venture with MainStream that never happened (p. 6).

               “expansion of Iowa’s First proven platform to 240 tanks and 4.8M pounds of fish”
               (p. 8). VBF never produced 4.8 million pounds of fish and has never had the
               technology to do so.


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             That VBF then had “fully vertically integrated operations,” which never occurred
              (p. 8).

             That “VBF has successfully obtained approximately $5.4M in new equity” (p. 8).
              This is false as VBF did not procure any new investors of that magnitude at that
              time, instead taking on debt in the form of bridge loans.

             “Debt commitment of $26M” from Generation Investment Management and M&G
              Investments (p. 8). This is false as there were no firm and unqualified commitments
              from these parties, to VBF’s knowledge.

             “in a six tank modular pod, VBF has modeled stocking with 10,000 fish. However,
              VBF has successfully been stocking a six tank pod with 16,000 fish” (p. 11).

              “planned JV hatchery with mainstream reducing our input costs of Fry to $0.10
              each” (p. 11). This joint venture never occurred.

             “Tank sales – none modeled and sales outside network worldwide could represent
              $3M annually in additional EBITDA” (p. 11). This is false as tank sales never
              occurred.

             On page 27 there is a representation of a Water Recirculating System chart, which
              never was achieved, as demonstrated by VBF’s water cleanliness issues.

             “the operation has been successfully producing fish for three (3) years and has
              validated all the operating parameters and performance data for VBF
              commercialization of the operation” (p. 28).

       170.   The January 2016 Written Representations (Group Exhibit 27) contain the

following misrepresentations:

             Investment is to fund expansion of Urban Farm, which has been “successfully
              growing Barramundi…since 2012” (Executive Summary p. 1).

             “VBF Insiders have invested $8 million in new capital into the Company in over
              last year” (Executive Summary p. 1).

             “VBF secured a debt commitment for $26 million from (1) Generation…and (2) M
              & G Investments (owned by Prudential). Generation/M&G “agreed to provide lead
              equity order of $5 million” (Executive Summary p. 1).

             “VBF has an established client base of current customers and robust demand
              (annualized expected product of approximate 3 million pounds at the end of the
              first year vs. over 500 million pounds of high quality fish consumed per year in
              US)” (Executive Summary p. 1).



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J.      Other Waste of VBF Assets By The Founders

        171.    Another example of the Founders’ blatant disregard of their fiduciary duties when

it came to handling VBF’s money, at the direction of some or all of the Founders, was causing

VBF to purchase a building and underlying property unnecessary to VBF’s business and located

in Webster City for $400,000 on July 28, 2016, which VBF sold for $135,000 on April 13, 2018.

True and correct copies of the relevant closing statements are attached as Exhibit 33.

        172.    Further, the Founders purchased a waste water treatment plant with over $2 million

of VBF’s money that did not comply with VBF’s waste water disposal obligations to Webster City,

Iowa.

        173.    As further evidence of their deliberate waste of VBF money, Ted Rea and James

Rea spent VBF’s money on furniture from Schooner Realty, which was owned by Ted and James

Rea’s parents, which they then paid their parents to transport to the Webster City home. True and

correct copies of the relevant expense reports are attached hereto as Exhibit 34. After paying their

parents to transport furniture from Texas to Iowa, the Founders also used VBF funds to make

repairs to the trailer that their parents used.

        174.    In or around July and August 2016, some or all of the Founders orchestrated VBF’s

purchase of six (6) tractor-trailers at a total cost to VBF of approximately $375,237.77. But, VBF

sold live fish to its customers at all relevant times, from its Webster City, Iowa facility. VBF did

not need to deliver fish to its customers as it was the customer’s obligation to arrange for the pick-

up and transport of the live fish from the facility. Therefore, VBF generally does not need any

tractor-trailers. These tractor-trailers sat dormant at VBF’s Webster City, Iowa facilities.

Ultimately, after VBF terminated the Founders, VBF was eventually able to sell the tractor-trailers.

        175.    The Founders also purchased 22 vehicles for purported “Company use” which cost

VBF in excess of $11,000 per month when those vehicles were not necessary for VBF’s operations.


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     VII. THE FOUNDERS’ MISCONDUCT CONTINUES INTO THE YEAR 2019

A.     The Founders Surreptitiously Meddle in VBF’s Bankruptcy Proceedings in an
       Attempt To Subterfuge This Lawsuit

       176.      As alleged, on September 21, 2018, VBF and affiliated entities (“Bankruptcy

Debtors”) filed for Chapter 11 Bankruptcy in the United States Bankruptcy Court for the Northern

District of Iowa, In re: VeroBlue Farms USA, Inc., et al., Case No. 18-01297 (“Bankruptcy

Proceedings”).

       177.      Shortly thereafter, the Founders, aided and abetted by Maniaci, sought to

surreptitiously interfere in the Bankruptcy Proceedings. The Founders sought a dismissal of this

case, against them, through the Bankruptcy Proceedings, for zero consideration to VBF. This

demonstrates the desperate means the Founders will undertake to obfuscate their misconduct,

seeking the dismissal of a claim for approximately $81,000,000 in compensatory damages, for

nothing. They did so in a number of ways.

       178.      The first way was through the unsecured creditors committee (“Creditors

Committee”). On December 18, 2018, counsel for the Creditors Committee submitted a “Notice

of Challenge” to VBF and the other Bankruptcy Debtors in the Bankruptcy Proceedings

(“Challenge Notice”). Through the Challenge Notice, the Creditors Committee purported to

challenge certain bankruptcy actions and sought a dismissal of this lawsuit, for zero consideration

to VBF, based on a series of allegations, many of them false. Two days later, the Challenge Notice

was also adopted by the “Ad Hoc Committee of Equityholders” (“AHC”), which was a non-

sanctioned group of shareholders mostly concocted by the Founders.

       179.      The Challenge Notice has since been withdrawn by the Creditors Committee, who

never acted on it, and for good reason. VBF confirmed that the Challenge Notice was prepared




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based on falsities and half-truths that the Founders provided to Creditors Committee counsel about

this case.

        180.   Indeed, it seemed strange to VBF that the Creditors Committee and AHC would

seek the dismissal of this case in its Challenge Notice with no recovery to VBF. Thus, on January

9, 2019, VBF counsel met with Creditors Committee counsel to discuss the Challenge Notice, at

which time counsel acknowledged that the Founders were the impetus of the Challenge Notice and

that the Founders were the source of background information for that document.

        181.   In addition to trying to improperly seek dismissal of this lawsuit, the Challenge

Notice shamefully repeated the Founders’ false accusations of sexual harassment against a

representative of Alder. This is one of the Founders’ repeated tactics, where they have attempted

to deflect attention from their misconduct, but such claims have been debunked, including by the

Nelson’s, through their March 2018 letter, a true and correct copy of which is attached as Exhibit

35 (which refers to the Founders as “the Dallas Group”). The Founders, other than Driver, have

tried to use those false accusations in these proceedings as well.

        182.   In another attempt, the Founders retained the Chicago law firm of Horwood Marcus

& Berk Chartered (“HMB”) to represent them in the Bankruptcy Proceedings. In a bankruptcy

filing, HMB represented that “HMB has previously provided limited services to Ted Rea, James

Rea, Bruce Hall, and Leslie Wulf (the “Founding Shareholders”) for several weeks in conjunction

with these Chapter 11 proceedings….” The Founders have also at times represented to courts that

the Founders are members of the AHC, which attempted to meddle in the Bankruptcy Proceedings

even when the Creditors Committee refused to do so, based on the same meritless claims that were

ultimately rejected by the Creditors Committee, as set forth above. The Founders or HMB,




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however, have also denied that the Founders were ever members of the AHC in other

representations to the bankruptcy court and this Court.

       183.    For example, in the Founders’ February 24, 2019 Motion to Quash in this case,

(Iowa Dkt. 37-1 at 10), the Founders represented as follows:

               HMB was Defendants’ [Founders’] individual counsel in the Bankruptcy Case from
               November 8 through December 18, 2018 . . . since December 18, 2018, Defendants
               have been members of the Equityholders’ Committee [AHC] that HMB and the
               Beecher Firm now represent, therefore, all [of the Founders’ or their counsel’s]
               communications related to the Equityholders’ Committee’s investigation of VBF
               and its challenges to VBF’s reorganization plan are also privileged.

       184.    The Founders made other representations in that Motion, to the Iowa Court (and

now this Court), that they “are members of the Equityholders’ Committee (AHC)” (Id. at 11); that

“HMB was Defendants’ individual counsel and now represents Defendants as members of the

Equityholders’ Committee in the Bankruptcy Case” (Id. at 9); and that “HMB [is] Counsel to the

Ad Hoc Committee of Equityholders, including Defendants” (Id at 4). Thus, the Founders flatly

admitted that they were part of the AHC, led by the Founders’ own counsel, HMB. The AHC,

therefore, was nothing more than the Founders’ vehicle to attempt to secretly manipulate the

Bankruptcy Proceedings to their benefit. Again, this demonstrates the Founders’ surreptitious

meddling in the Bankruptcy Proceedings to gain a dismissal of this case.

       185.    In a February 27, 2019 filing submitted in the Bankruptcy Proceedings, however,

an HMB attorney verified under oath as follows: “None of the Founding Shareholders [the

Founders] are members of the Equity Committee ….” Bankruptcy Proceedings, Dkt. 42-1 at p.

151, ¶ 5, verified statement of Aaron L. Hammer, specifically stated under penalties of perjury;

See also Id. at p. 150, ¶ 1, which certifies under oath that “Exhibit A” thereto lists all AHC

members, and Exhibit A thereto, at pp. 154-158, does not list the Founders as AHC members.




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       186.    Later, in a March 18, 2019 filing in this case, the Founders contradicted their

previous representations to the Iowa Court (and now this Court) that they were AHC members:

“Defendants are not currently represented by HMB as counsel to the Equityholders’ Committee in

VBF’s Bankruptcy Case. Defendants are not and have not been members of the Equityholders’

Committee.” Iowa Dkt. 46 at 2.

       187.    Thus, the Founders and their counsel have made contradictory representations to

this Court and the bankruptcy court, and the latter court has taken notice of these contradictory

representations. Ultimately, on March 22, 2019, the bankruptcy court barred the AHC from acting

in the Bankruptcy Proceedings after VBF and its co-Bankruptcy Debtors raised these and other

issues with the court. Bankruptcy Proceedings, Dkt. 398.

       188.    The Founders’ misuse of the AHC to obfuscate their misconduct did not stop there,

as they also incorporated VBF’s counsel, Maniaci, in such misconduct, to act against the interests

of VBF, his own client, as explained in the next section.

B.     Maniaci Aids and Abets The Founders in Their 2019 Misconduct

       1.      Maniaci As Founders’ Counsel Separate From VBF

       189.    Four of the five Founders have Canadian roots and, as VBF is recently learning,

have had a longstanding relationship with Maniaci and CBB, a Canadian firm, outside of VBF’s

business. VBF recently discovered emails to that effect in 2019. One of these endeavors was

Maniaci’s representation of the ChipMeds, Inc. entity alleged above. Maniaci has continued to

further the Founders’ interests to VBF’s detriment, even in to the year 2019. Maniaci has worn

many conflicting hats in relation to VBF, including as Founders’ counsel, VBF’s counsel, and

fierce advocate against VBF.




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       2.      Maniaci As VBF’s Counsel

Maniaci was CBB’s “relationship partner” for VBF, overseeing CBB’s legal representation of

VBF. Maniaci is currently identified by CBB as a partner in its securities law group, purporting to

specialize in industries such as aquaculture. Maniaci and CBB represented VBF, VBF Canada,

and possibly other VBF-related entities on a large variety of matters from 2014 through November

2017, including general corporate, securities issues, issues relating to the OFT, import/export

work, corporate structuring, and other issues.   Thus, Maniaci’s representation of VBF was not

casual or isolated. Rather, Maniaci represented VBF on many aspects of its operations (such as

preparation of written representations). Neither VBF nor Maniaci (or CBB) have entered into any

disengagement of representation agreement or notification.

       3.      Maniaci as A Preferred Shareholder of VBF Canada

       190.    Maniaci, along with his brother Anthony and the Founders, appears to be one of the

first shareholders of VBF or VBF Canada (and a preferred shareholder at that). The Maniaci’s

received their stock either at a 50% discount from what other shareholders were paying at the time,

or, like the Founders, basically for free.

       191.    For example, Maniaci’s entity, Sailstreet Capital Inc., received 750,000 shares in

VBF Canada for a grand total of $0.075 (seventy-five cents) for all 750,000 shares in May 2014.

Maniaci, through Sailstreet, paid $0.000001 per share of stock at a time when others were paying

about 900,000 times that amount, or $0.90 per share.

       4.      Maniaci as An Advocate Against His Client, VBF

       192.    Maniaci manipulated his conflicted position as both shareholder of VBF, and

VBF’s counsel, to attempt to blatantly harm VBF and interfere with VBF’s Bankruptcy

Proceedings, and to aid and abet the Founders’ in their surreptitious meddling in the Bankruptcy

Proceedings. On January 9, 2019, Maniaci wrote a letter (“January 9 Maniaci Letter”) on behalf


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of the AHC to his “Fellow VBF Shareholder[s]” in regards to VBF’s Bankruptcy Proceedings,

ostensibly to garner opposition to the Bankruptcy Debtors’ Plan. A true and correct copy of this

document is attached as Exhibit 36. The letter, upon information and belief, was sent to most or

all VBF shareholders, is striking by what it misrepresents, and what it conceals on behalf of the

Founders.

       193.     Maniaci starts the letter with the statement that “I write to you as a minority

shareholder of VeroBlue Farms,” not specifying in which entity he is a shareholder, how he

acquired his stock, or how much he paid for his stock (nothing for most of it, through Sailstreet).

       194.     Further, although the letter is written on CBB letterhead by CBB partner Maniaci,

perhaps to give the letter an air of respectability as written from a law firm, Maniaci nowhere

discloses in his letter that CBB or he served as counsel to VBF on an extensive array of matters

from inception of the VBF’s business for years thereafter. In fact, Maniaci does not specify that

he is a lawyer. As to that point, in a March 20, 2019 letter CBB admitted: “We do acknowledge

that such letter was written without the authorization of management of this firm, and, therefore,

Mr. Maniaci’s letter written in his personal capacity should not have been put on to our firm’s

letterhead.”

       195.     Maniaci also conceals from the recipients of his letter that CBB and he have

represented the Founders on matters unrelated to VBF, and apparently have a close relationship to

the Founders.

       196.     Also in the January 9, 2019 Maniaci Letter, Maniaci improperly solicits clients for

counsel to the AHC, admitting that he is essentially trying to “crowdfund litigation” against VBF

through his letter. Obviously, Maniaci was working in concert with the Founders and AHC

counsel.




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       197.    Maniaci also misleadingly represents in his letter that the Creditors’ Committee

determined that this lawsuit is “retaliatory and without merit,” without noting that counsel for the

Creditors’ Committee acknowledged that the Founders were the source of his conclusion and that

he performed no independent investigation. This, combined with Maniaci’s obvious lobbying

against his clients’ (VBF’s) Plan of Reorganization (“Plan”), blatantly demonstrates Maniaci’s

intent to undermine VBF’s interests.

       198.    Further, Maniaci and CBB failed and refused to turn over client files to VBF,

withholding their own clients’ property presumably because Maniaci is concerned that those

documents contain information damaging to CBB, Maniaci, the Founders, and possibly other

Defendants. The Bankruptcy Debtors brought an adversary complaint against CBB for turnover

of these files and other data in the Bankruptcy Proceeding.

       199.    On April 22, 2019, the bankruptcy court approved the Bankruptcy Debtors’ Plan,

through which plan sponsor, Alder, acquired the Bankruptcy Debtors’ assets. The Founders

objected to the Plan. This is after the bankruptcy court rebuked the AHC tactic perpetrated by the

Founders, barring the AHC from participation in the Bankruptcy Proceedings.

        VIII. THE FOUNDERS’ MISUSE OF OTHER CORPORATE COUNSEL

       200.    Through Jackson Walker, the Founders orchestrated the drafting of improper

purported release provisions to which Founders Ted Rea, Hall and Driver claim a benefit, and also

have concealed material information from VBF based on an improper privilege claim through

which the Founders prevented VBF from receiving VBF’s own client files from Jackson Walker.

Jackson Walker often worked with Maniaci and CBB on VBF issues.

       201.    Upon information and belief, the Founders retained Jackson Walker (and its partner

Rick Dahlson) to represent VBF and had a preexisting relationship with the firm, and the Founders

have continued their relationship with Jackson Walker outside of the firm’s representation of VBF.


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In a January 31, 2019 email, in response to an inquiry from VBF, Jackson Walker disclosed as

follows: “Mr. Dahlson has had contact with Les Wulf, but only regarding subjects other than

VeroBlue.” A true and correct copy of this document is attached as Exhibit 37.

       202.    On October 24, 2018, McCowan, as VBF’s President, requested that Jackson

Walker turn over all of VBF’s client files to VBF. A true and correct copy of this request is

attached as Exhibit 38.

       203.    In response, Jackson Walker stated that before producing certain documents it first

needed to consult with the Founders, though the Founders have long since left the employ of VBF,

based on some privilege the Founders could claim as to VBF files. See Exhibit 38. This marks

the first time that VBF disinterested directors or officers learned that Jackson Walker had loyalties,

and divided ones at that, to both the Founders and VBF. Jackson Walker thereafter began

producing documents but did not complete production of the documents it was willing to produce

until February 8, 2019.    A true and correct copy of this document is attached as Exhibit 39.

Disinterested VBF directors were unaware of the nature and extent of Jackson Walker’s attorney-

client and other relationships with the Founders at the time that Jackson Walker prepared the

Founders’ Termination Agreements, which the Founders now claim to benefit them to the

detriment of VBF.

       204.    As part of its production, Jackson Walker produced invoices showing the firm’s

representation of VBF on a variety of issues, as VBF’s outside general counsel, from on or about

September 8, 2014 through on or about January 10, 2018 (and VBF submit that Jackson Walker

remains their counsel, as there has been no definitive termination of representation to VBF’s

knowledge). These dates coincide with Founders’ reign over VBF. All told, VBF paid Jackson

Walker about $1,483,287.87 for its representation of VBF.




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       205.    On February 8, 2019, after much delay, Jackson Walker produced additional

documents, but withheld from VBF about 800 documents from the firm’s files for its

representation of VBF. VBF strenuously objected to its own counsel’s withholding of files from

the firm’s own clients, VBF. VBF also had to insist on Jackson Walker providing a privilege log

that it obviously had readily available (given the short time that elapsed between VBF’s demand

for a log, late in the day on Friday, February 8, 2019, and the date that Jackson Walker produced

the log, Monday, February 11, 2019).

       206.    The Jackson Walker “privilege log” reveals the following about the documents that

Jackson Walker withheld from its own clients: (a) the documents are dated March 20, 2015 through

July 6, 2016, well within the September 2014 through January 2018 time frame that Jackson

Walker represented VBF (and Jackson Walker has never, to VBF’s knowledge, withdrawn from

its representation of VBF); (b) the documents were all sent, received, or generated by Jackson

Walker in its representation of VBF (as they were logged in response to VBF’s request for their

files); and (c) there are 784 documents logged, many of which attach yet more documents;” and

(d) some of the documents are communications, drafts, or other documents relating to the very

employment agreements that the Founders have put at issue as to various aspects of this case. A

true and correct copy of this document is attached as Exhibit 40.

       207.    Jackson Walker’s basis for withholding documents from its own clients based on

the attorney-client privilege is further based on a spurious analogy to a July 2016 transaction

wherein an entity purchased a large amount of VBF stock, becoming one of many VBF

shareholders. Jackson Walker artificially likened this situation to a corporate merger, citing a

Delaware case on merger, as the basis for the privilege. There was no merger here, and the

overwhelming implication is that Jackson Walker is withholding almost 800 documents from its




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own clients because those clients are now suing the Founders for fraud and other misconduct

through which the Founders misappropriated or otherwise squandered close to $90,000,000 during

Founders’ four year reign over VBF (which coincided almost exactly with Jackson Walker’s

representation of VBF). This presents an appearance that Jackson Walker is hiding something.

       208.    VBF filed an adversary complaint against Jackson Walker in the Bankruptcy

Proceeding seeking turnover of its client files. Regardless, upon information and belief, Jackson

Walker is shielding information from its own client, VBF, that is damaging to the Founders,

demonstrating the Founders’ misuse of Jackson Walker under the guise of the firm being VBF’s

“corporate counsel,” when it appears that the firm has at least sometimes been more concerned

about representing the Founders’ interests.

       209.    Jackson Walker’s actions are particularly concerning as it relates to this case

because Ted Rea, Hall, and Driver claim that they were released under certain agreements that

they also claim Jackson Walker drafted on behalf of VBF, as alleged in the next section. It appears

that these agreements were prepared by conflicted counsel with divided loyalties.

                  IX. THE FOUNDERS’ FRAUD BEGINS TO UNRAVEL

       210.    Starting in late 2017, disinterested VBF directors started to become concerned

about the Founders’ abilities to lead and execute the business.

A.     Termination of Hall and Ted Rea

       211.    By late 2017, with VBF’s mounting losses, the disinterested VBF directors

recommended that Hall and Ted Rea be fired. On or about October 27, 2017, Hall executed a

“Termination Agreement,” which included, among other things, a purported release of some of

VBF’s claims against Hall. Wulf, one of Hall’s co-conspirators, purportedly executed Hall’s

Termination Agreement on behalf of VBF (“Hall’s Termination Agreement”).




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       212.   On the same day, Ted Rea executed a “Termination Agreement,” which included,

among other things, a purported release of some of VBF’s claims against Ted Rea. Wulf

purportedly executed Ted Rea’s Termination Agreement (“Ted Rea’s Termination Agreement”)

on behalf of VBF.

       213.   Jackson Walker, now believed to be the Founders’ longstanding counsel, drafted

and reviewed these agreements purportedly as VBF’s counsel. True and correct copies of these

agreements are attached as Group Exhibit 41. VBF knew of no separate counsel representing Ted

Rea as to Ted Rea’s Termination Agreement or Hall as to Hall’s Termination Agreement.

Therefore, it appears that Jackson Walker essentially represented, or had existing professional

relationships with, both parties to Ted Rea’s Termination Agreement, VBF and Ted Rea, and both

parties to Hall’s Termination Agreement, VBF and Hall.

       214.   The purported release in Hall’s Termination Agreement and Ted Rea’s Termination

Agreement provides:

   Except for the covenants and agreements of [Hall/Ted Rea] provided for in this Agreement,
   the Company, on its own behalf and on behalf of the other Company Releasees, hereby
   irrevocably and unconditionally release, acquit and forever discharge the [Hall/Ted Rea]
   Releasers from any and all charges, complaints, claims, liabilities, obligations, promises,
   agreements, controversies, damages, actions, causes of action, suits, rights, demands, costs,
   losses, debts and expenses (including attorneys’ fees and costs actually incurred), of any nature
   whatsoever, known or unknown (the “Company Releasee Claims”) which the Company
   Releasees now have, own, hold, or to which the Company Releasees at any time heretofore
   had, owned or held against each of the [Hall Releasers/Ted Rea Releasers]. The Company
   Releasees represent that they have not heretofore assigned or transferred, or purported to assign
   or transfer, to any person or entity, any Company Releasee Claim or any portion thereof or
   interest therein.

       215.   The Termination Agreements also included severance payments to both Hall and

Ted Rea in the amount of $400,000 each.




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        216.     At the time that the Termination Agreements for Hall and Ted Rea were executed,

VBF had not yet discovered the fraudulent acts committed by the Founders because the Founders

had actively and fraudulently concealed their conduct.

B.      Termination of Keith Driver

        217.     Driver worked along with the other Founders from the inception of VBF. Between

approximately July 1, 2016 and January 13, 2017, Driver was the Chief Operating Officer of VBF.

        218.     On January 13, 2017, Driver executed a Business Relationship Restructuring

Agreement and Consulting Agreement (“Driver’s Termination Agreement”) that changed Driver’s

role to an independent contractor. Wulf purportedly executed Driver’s Termination Agreement

on behalf of VBF.2 A true and correct copy of this document is attached as Exhibit 42.

        219.     Jackson Walker drafted and reviewed this agreement purportedly as VBF’s

counsel. VBF knows of no counsel retained by Driver separately from Jackson Walker, who, as

VBF has recently learned, has a longstanding (and continuing) relationship with the Founders.

Therefore, it appears that Jackson Walker essentially represented both parties to Driver’s

Termination Agreement, VBF and Driver. And Wulf, one of Driver’s co-conspirators, executed

this agreement for VBF.

        220.     VBF terminated Driver’s independent contractor relationship on or about

December 28, 2017.

        221.     Driver’s Termination Agreement provided for six installments payments totalling

$550,000 and one payment of $500,000 for the cancellation of certain shares in VBF’s affiliate.

        222.     Driver’s Termination Agreement also contained a purported release provision as

follows:


2
 VBF fired Defendants Wulf, and James Rea later in 2017 and into early 2018, providing no releases, after the hiring
of McCowan.


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       (b)     As a material inducement to Driver and Driver Co. to enter into this Agreement,
       and except for the covenants and agreements of Driver and Driver Co. provided for in this
       Agreement, VBF USA and VBF Canada, on their own behalf and on behalf of the other
       VBF Releasees, hereby irrevocably ad unconditionally release, acquit, and forever
       discharge the Driver Releasers from any and all charges, complaints, claims, liabilities,
       obligations, promises, agreements, controversies, damages, actions, causes of action, suits,
       rights, demands, costs, losses, debts and expenses (including attorneys’ fees and costs
       actually incurred), of any nature whatsoever, known or unknown (the “VBF Releasee
       Claims”) which the VBF Releasees now have, own, hold, or to which the VBF Releasees
       at any time heretofore had, owned or held against each of the Driver Releasers, including,
       without limitation, the Egregious Cause Claims. The VBF Releasees represent that they
       have not heretofore assigned or transferred, or purported to assign or transfer, to any person
       or entity, any VBF Releasee Claim or any portion thereof or interest therein.

See Exhibit 42, ¶4(b) (collectively the purported release and severance provisions in Hall’s

Termination Agreement, Ted Rea’s Termination Agreement, and Driver’s Termination Agreement

are hereinafter referred to as the “Release and Severance Provisions”).

       223.    In Driver’s Termination Agreement, Driver also agreed to a confidentiality

provision prohibiting him from disclosing confidential information “in a fiduciary capacity for the

benefit of” VBF except in furtherance of Driver’s duties under the Consulting Agreement or

required by law to so disclose. See Exhibit 42, ¶4(a).

       224.    At the time that Driver’s Termination Agreement was executed, VBF had not yet

discovered the fraudulent acts committed by the Founders because the Founders had actively and

fraudulently concealed their conduct.

C.     Termination of Wulf

       225.    On December 1, 2017, VBF terminated Wulf pursuant to a separation agreement

(“Wulf Separation Agreement”). At this time, the Defendants’ bad acts were just beginning to

come to light, though, as VBF has come to learn, it had only scratched the surface of the

Defendants’ misconduct and had yet to learn the vast majority of the Defendants’ misconduct as

depicted herein or most specifics relating to same. See Exhibit 43. Jackson Walker also drafted

the Wulf Separation Agreement, and VBF knows of no other counsel separately representing Wulf.


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Therefore, the same conflict problems attendant to the other termination agreements were present

as to the Wulf Separation Agreement.

       226.   The Wulf Separation Agreement contemplates that Wulf would be paid a settlement

totaling $400,000 and that VBF would continue to pay COBRA premiums for the lesser of either

12 months or the duration of such COBRA coverage.

D.     Termination of James Rea

       227.   On or about July 1, 2016, VBF and James Rea entered into an Employment

Agreement (“Employment Agreement”) which provided that James Rea could be terminated “by

the Company for Cause.” A true and correct copy of this document is attached as Exhibit 44. If

he was so terminated, James Rea was not entitled to receive certain benefits including “accrued

employment entitlements” which included (1) James Rea’s base salary through the date of

termination and (2) any previously vested benefits, such as retirement benefits and vacation pay.

Jackson Walker drafted and reviewed this agreement purportedly as VBF’s counsel.

       228.   At various times between July 1, 2016 and January 8, 2018, James Rea committed

various acts constituting “Egregious Cause” as defined in the Employment Agreement including

(1) the commission of a crime of moral turpitude, or the commission of any other willful act or

willful omission involving dishonesty or fraud with respect to VBF; (2) breaches of the

Employment Agreement and/or gross neglect of James Rea’s duties and (3) damage to or

misappropriation or conversion of any funds or assets of the Company.

       229.   By January 8, 2018, VBF was aware that James Rea charged personal expenditures

to VBF’s business account, and it terminated his employment for Egregious Cause. Because of

his termination for Egregious Cause, VBF did not owe James Rea accrued employment

entitlements. Further, VBF did not enter into a termination agreement with James Rea, as it did

with other Founders, due to the Founders’ misconduct that was coming to light at this point.


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                                           X. CLAIMS

              COUNT I – BREACH OF FIDUCIARY DUTY – ALL FOUNDERS

       230.    VBF adopts and reincorporates paragraphs 1 through 229.

       231.    The Founders owed fiduciary duties to VBF from in or around October 1, 2014,

when they came to control VBF and served as officers and directors, through and including January

2018, when the last of the Founders was terminated as an employee, contractor, officer, and/or

director of VBF.

       232.    The Founders’ fiduciary duties to VBF included, but were not limited to, those of

obedience, loyalty, honesty, good faith, and due care.

       233.    The Founders breached their fiduciary duties of loyalty, good faith, candor, to

restrain from self-dealing, integrity, fair and honest dealing, full disclosure, and others, to VBF in

one or more of the following ways:

               a.      by misappropriating VBF funds for the Founders’ personal benefit;

               b.      by misappropriating other VBF assets for the Founders’ personal benefit;

               c.      by self-dealing and by concealing their self-dealing from VBF;

               d.      by grossly reckless and/or intentional misuse and waste of corporate assets
                       that led to a dramatic devaluation of VBF to be determined at trial;

               e.      by continuously and systematically misrepresenting the Metrics, VBF’s
                       financial situation, VBF’s valuation, and VBF’s technology to disinterested
                       VBF directors and other VBF personnel;

               f.      by misusing VBF’s corporate counsel, Jackson Walker and CBB’s Sean
                       Maniaci, to promote the Founders’ selfish interests, including, but not
                       limited to, the obfuscation of the Founders’ misconduct; and

               g.      by otherwise breaching their fiduciary duties to VBF, including but not
                       limited through misconduct that led to the demise of VBF.




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       234.    VBF suffered injuries as a direct and proximate result of the Founders’ breaches of

fiduciary duty, and the Founders gained a personal benefit from such breaches.             VBF’s

compensatory damages are in excess of $90,000,000.

       235.    Further, the Founders’ breaches of fiduciary duty have been willful and egregious,

and the Founders’ misconduct continues into the year 2019. Therefore, punitive damages against

the Founders and in favor of VBF are warranted, in an amount to be determined at trial.

Additionally, the Founders’ self-dealing transactions with VBF are presumed invalid, and the

burden of proof lays with the Founders to prove the fairness of such transactions by clear and

convincing evidence. Also, Hall and Ted Rea have verbally advised at least one third party that

they are “judgment proof,” or words to that effect, implying that they could commit wrongful acts

without recourse.

            COUNT II – FRAUDULENT CONCEALMENT – ALL FOUNDERS

       236.    VBF adopts and reincorporates paragraphs 1 through 229.

       237.    The Founders concealed from or failed to disclose to VBF material facts including,

but not limited to, the following, as alleged supra:

               a.      the BAJJER stock scheme;

               b.      the American Growth Funding Loan scheme;

               c.      the Wulf Lake House scheme;

               d.      the Sedun stock scheme;

               e.      the compensation scheme;

               f.      the Gagne scheme;

               g.      the tractor-trailer scheme;

               h.      the OFA Scheme;

               i.      the Founders’ misappropriations of VBF Canada’s stock;



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               j.     The Founders’ other misappropriations of VBF funds or other assets for
                      personal use;

               k.     The Founders’ devaluation of VBF’s stock through their misconduct and
                      other breaches of their duties of due care; and,

               l.     The Founders’ misrepresentations of:

                         i.   FCR,

                        ii.   Density,

                       iii.   Mortality Rates,

                       iv.    Water Quality,

                        v.    EBITDA, VBF’s valuation, and other Financial Metrics,

                       vi.    Theirs and VBF’s Technical Abilities, and

                       vii.   VBF’s Technology;

               m.     misusing VBF’s corporate counsel, Jackson Walker and CBB’s Maniaci, to
                      promote the Founders’ selfish interests, including, but not limited to, the
                      obfuscation of the Founders’ misconduct; and,

               n.     other material facts that would have revealed the existence of the Founders’
                      misconduct.

       238.    The Founders, as fiduciaries to VBF, owed VBF a duty to disclose these material

facts to VBF. Further, the Founders created false impressions through partial disclosures and

voluntarily disclosed some related information, also leading to a duty to disclose the whole truth

of these material facts to VBF.

       239.    The Founders knew that VBF lacked knowledge of these concealed material facts

until after VBF terminated the Founders by January 2018. The Founders intended to induce VBF

to refrain from attempting to halt the Founders’ misconduct, mismanagement, and corporate waste

by concealing these material facts from VBF.




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       240.    The Founders were deliberately silent when they had a duty to speak. The Founders

knowingly failed to disclose these material facts to VBF knowing full well that VBF would not

approve of the Founders’ blatant misconduct.

       241.    VBF justifiably relied on the Founders’ failure to disclose these material facts given

the Founders’ status as fiduciaries to VBF. Further, VBF did not have opportunities equal to the

Founders to discover the Founders’ misconduct until after the Founders were ousted from their

positions at VBF.

       242.    VBF suffered injuries as a direct and proximate result of the Founders’ fraudulent

concealment. VBF’s compensatory damages are in excess of $90,000,000.

       243.    Further, the Founders’ fraudulent concealment has been willful and egregious, and

the Founders’ misconduct continues into the year 2019. Therefore, punitive damages against the

Founders and in favor of VBF are warranted, in an amount to be determined at trial. Also, Hall

and Ted Rea have verbally advised at least one third party that they are “judgment proof,” or words

to that effect, implying that they could commit wrongful acts without recourse.

       COUNT III – FRAUDULENT MISREPRESENTATION – ALL FOUNDERS

       244.    VBF adopts and reincorporates paragraphs 1 through 229.

       245.    Pleading in the alternative, the Founders’ silence in the face of their duties to

disclose their misconduct alleged herein to VBF, constitutes fraudulent misrepresentation of the

material facts alleged in Count II.

       246.    The Founders knew that their failures to disclose these material facts, and therefore

what are deemed to be misrepresentations in light of the Founders’ duties of disclosure to VBF,

were false or alternatively in reckless disregard of the truth.

       247.    The Founders intended to deceive VBF and to induce them to refrain from

attempting to halt the Founders’ misconduct by misrepresenting material facts to VBF.


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       248.    VBF justifiably and detrimentally relied on the Founders’ misrepresentations given

the Founders’ status as fiduciaries to VBF.

       249.    VBF suffered injuries as a direct and proximate result of the Founders’ fraudulent

misrepresentation. VBF’s compensatory damages are in excess of $90,000,000.

       250.    Further, the Founders’ fraud has been willful and egregious, and the Founders’

misconduct continues into the year 2019. Therefore, punitive damages against the Founders and

in favor of VBF are warranted, in an amount to be determined at trial. Also, Hall and Ted Rea

have verbally advised at least one third party that they are “judgment proof,” or words to that

effect, implying that they could commit wrongful acts without recourse.

               COUNT IV – CONSTRUCTIVE FRAUD – ALL FOUNDERS

       251.    VBF adopts and reincorporates paragraphs 1 through 229.

       252.    The Founders’ misconduct, committed while they were fiduciaries to VBF,

constitutes constructive fraud regardless of the Founders’ intent.

       253.    VBF suffered injuries as a direct and proximate result of the Founders’ constructive

fraud. VBF’s compensatory damages are in excess of $90,000,000.

       254.    Further, the Founders’ fraudulent concealment was willful and egregious, or at least

wanton, and therefore punitive damages against the Founders and in favor of VBF are warranted,

in an amount to be determined at trial. Also, Hall and Ted Rea have verbally advised at least one

third party that they are “judgment proof,” or words to that effect, implying that they could commit

wrongful acts without recourse.

                  COUNT V – UNIFORM VOIDABLE TRANSFERS ACT
                     (IOWA CODE §684.4(1)(a)) – ALL FOUNDERS

       255.    VBF adopts and incorporates paragraphs 1 through 229.




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       256.    VBF seeks to void transfers made to the Founders, including transfers from 2014

to 2018 related to:

               a.     the BAJJER stock scheme;

               b.     the American Growth Funding Loan scheme;

               c.     the Wulf Lake House scheme;

               d.     the Sedun stock scheme;

               e.     the compensation scheme;

               f.     the Gagne scheme;

               g.     the tractor-trailer scheme;

               h.     the OFA Scheme;

               i.     the Founders’ misappropriations of VBF Canada shares; and

               j.   Other misappropriations of VBF funds or other assets for the Founders’
                    personal use.
       257.    VBF made or authorized transfers of assets and stock (as described above) totaling

(and based on information available today, VBF’s investigation is ongoing):

               a.     at least $4,562,498 to Wulf;

               b.     at least $4,747,333 to Hall;

               c.     at least $4,365,000 to James Rea;

               d.     at least $4,487,410 to Ted Rea; and

               e.     at least $3,389,501 to Driver.

       258.    The transfers were made with the actual intent to hinder, delay, or defraud VBF,

demonstrated by, among other things, that:

               a.     The transfers consisted of misappropriations of VBF funds and other assets
                      for the Founders’ personal benefit;




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               b.     The Founders misrepresented facts related to the FCR, Density, Mortality
                      Rates, Water Quality, valuation, EBITDA and other Financial Metrics, and
                      theirs and VBF’s Technical Abilities to mislead VBF and its creditors;

               c.     The Founders concealed facts that would have alerted VBF and its creditors
                      of the misappropriation and that the alleged profits from the business were
                      derived from the misrepresented facts;

               d.     The Founders’ transfers were to themselves and other insiders;

               e.     The transfers occurred after VBF was insolvent;

               f.     A number of the transfers occurred both before and after substantial debts
                      were incurred;

               g.     The consideration received by VBF for the transfers to the Founders was
                      not reasonably equivalent in value to the amount of monies transferred to
                      the Founders; and

               h.     The Founders, not the debtor, have retained possession or control of the
                      property transferred after the transfer.

       259.    As alleged above, VBF made or authorized transfers totaling between $5 million to

$20 million in assets and/or stock to the Founders during the period from 2014 to 2018.

       260.    VBF’s claims arose before or shortly after the transfers were made and VBF

brought this claim within one year after the transfers could reasonably have been discovered.

       261.    Moreover, VBF was insolvent or became insolvent shortly after the transfers to the

Founders were made. Specifically, due to the fraudulent scheme and misrepresented facts related

to the VBF business described above, VBF was insolvent from the beginning of that scheme and

the commencement of the misrepresentations. The Founders generated significant investments

and other funds through the misstated business metrics, which funds were diverted to the Founders.

       262.    Therefore, VBF has the right to avoid the transfers to the Founders under Section

684.4(1)(a) of the Iowa Code. VBF should recover all assets wrongfully transferred to the

Founders from 2014 to 2018.




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                  COUNT VI – UNIFORM VOIDABLE TRANSFERS ACT
                     (IOWA CODE §684.4(1)(b)) – ALL FOUNDERS

       263.    VBF adopts and reincorporates paragraphs 1 through 229.

       264.    Pleading in the alternative to Count V, VBF made or authorized transfers of assets

and stock (as described above) totaling (and based on information available today, VBF’s

investigation is ongoing):

            a. at least $4,562,498 to Wulf;

            b. at least $4,747,333 to Hall;

            c. at least $4,365,000 to James Rea;

            d. at least $4,487,410 to Ted Rea; and

            e. at least $3,389,501 to Driver.

       265.    Transfers from 2014 to 2018 to the Founders were fraudulent as to VBF.

       266.    VBF did not receive a reasonably equivalent value in exchange for the transfers to

the Founders and VBF seeks to void them under Section 684.4(1)(b) of Iowa law.

       267.    Further, because the Founders’ services to VBF, in whatever form, were premised

on maintenance and perpetuation of a fraudulent scheme, they did not contribute any value in

exchange for the monies received.

       268.    At the time of the transfers, VBF was engaged in or were about to engage in a

business or a transaction for which its remaining assets were unreasonably small in relation to its

business.

       269.    Moreover, VBF was insolvent or became insolvent shortly after the transfers to the

Founders were made. Specifically, due to the fraudulent scheme and misrepresented facts related

to the VBF business described above, VBF was insolvent from the beginning of that scheme and




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the commencement of the misrepresentations. The Founders generated significant investments and

other funds through the misstated business metrics, which funds were diverted to the Founders.

         270.     Therefore, VBF should recover amounts paid to the Founders described herein from

2014 to 2018.

            COUNT VII – ACTUAL FRAUDULENT TRANSFER (TEXAS LAW) –
              ALL FOUNDERS (TEX. BUS. & COMM. CODE § 24.005(a)(1))

         271.     VBF adopts and reincorporates paragraphs 1 through 229.

         272.     Pleading in the alternative to Counts V and VI3, VBF seeks to avoid transfers made

to the Founders, including transfers from 2014 to 2018 related to:

                  a.       the BAJJER stock scheme;

                  b.       the American Growth Funding Loan scheme;

                  c.       the Wulf Lake House scheme;

                  d.       the Sedun stock scheme;

                  e.       the compensation scheme;

                  f.       the Gagne scheme;

                  g.       the tractor-trailer scheme;

                  h.       the OFA Scheme;

                  i.       the Founders’ misappropriations of VBF Canada shares; and

                  j.       Other misappropriations of VBF funds or other assets for the Founders’
                           personal use.

         273.     VBF made or authorized transfers of assets and stock (as described above) totaling

(and based on information available today, VBF’s investigation is ongoing):

                  a.       at least $4,562,498 to Wulf;


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   VBF alleges statutory fraud claims under Texas law in the event that this Court rules that Texas law applies, which,
it should not. VBF affirmatively states that this case is covered by Iowa law.



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              b.      at least $4,747,333 to Hall;

              c.      at least $4,365,000 to James Rea;

              d.      at least $4,487,410 to Ted Rea; and

              e.      at least $3,389,501 to Driver.

       274.   The transfers were made with the actual intent to hinder, delay, or defraud VBF,

demonstrated by, among other things, that:

              a.      The transfers consisted of misappropriation of VBF funds and other assets
                      for the Founders’ personal benefit;

              b.      The Founders misrepresented facts related to the FCR, Density, Mortality
                      Rates, Water Quality, valuation, EBITDA and other Financial Metrics, and
                      theirs and VBF’s Technical Abilities to mislead VBF and its creditors;

              c.      The Founders concealed facts that would have alerted VBF and its creditors
                      of the misappropriation and that the alleged profits from the business were
                      derived from the misrepresented facts;

              d.      The Founders were insiders;

              e.      The transfers occurred after VBF was insolvent;

              f.      A number of the transfers occurred both before and after substantial debts
                      were incurred; and

              g.      The consideration received by VBF for the transfers to the Founders was
                      not reasonably equivalent in value.

       275.   As alleged above, VBF made or authorized transfers totaling between $5 million to

$20 million in assets and/or stock to the Founders during the period from 2014 to 2018.

       276.   VBF’s claims arose before or within a reasonable time after the transfers to the

Founders.

       277.   Moreover, VBF was insolvent or became insolvent shortly after the transfers to the

Founders were made. Specifically, due to the fraudulent scheme and misrepresented facts related

to the VBF business described above, VBF was insolvent from the beginning of that scheme and




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the commencement of the misrepresentations. The Founders generated significant investments

and other funds through the misstated business metrics, which funds were diverted to the Founders.

         278.     Further, VBF did not receive consideration that was reasonably equivalent to the

amount of monies transferred to the Founders.

         279.     Therefore, VBF has the right to avoid the transfers to the Founders under Section

24.005(a)(1) of the Texas Business and Commerce Code.                         VBF should recover all assets

wrongfully transferred to the Founders from 2014 to 2018.

     COUNT VIII – CONSTRUCTIVE FRAUDULENT TRANSFER (TEXAS LAW) –
           ALL FOUNDERS (TEX. BUS. & COMM. CODE § 24.005(a)(2))

         280.     VBF adopts and reincorporates paragraphs 1 through 229.

         281.     Pleading in the alternative to Counts VI and VII4, VBF made or authorized transfers

of assets and stock (as described above) totaling (and based on information available today, VBF’s

investigation is ongoing):

                  a.       at least $4,562,498 to Wulf;

                  b.       at least $4,747,333 to Hall;

                  c.       at least $4,365,000 to James Rea;

                  d.       at least $4,487,410 to Ted Rea; and

                  e.       at least $3,389,501 to Driver.

         282.     Transfers from 2014 to 2018 to the Founders were fraudulent as to VBF.

         283.     VBF did not receive reasonably equivalent value in exchange for these transfers,

and VBF avoids them under Texas state fraudulent transfer law. Tex. Bus. & Comm. Code §

24.005(a)(2).




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  VBF alleges statutory fraud claims under Texas law in the event that this Court rules that Texas law applies, which,
it should not. VBF affirmatively states that this case is covered by Iowa law.


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       284.     Further, because the Founders’ services to the company, in whatever form, were

premised on maintenance and perpetuation of a fraudulent scheme, they did not contribute any

value in exchange for the monies received.

       285.     At the time of the transfers, VBF was engaged or was about to engage in

transactions for which its remaining assets were unreasonably small in relation to its business.

       286.     At the time of the transfers, VBF intended to incur or believed that it would incur,

debts beyond its ability to pay as they became due.

       287.     Moreover, VBF was insolvent or became insolvent shortly after the transfers to the

Founders were made. Specifically, due to the fraudulent scheme and misrepresented facts related

to the VBF business described above, VBF was insolvent from the beginning of that scheme and

the commencement of the misrepresentations. The Founders generated significant investments

and other funds through the misstated business metrics, which funds were diverted to the Founders.

       288.     Therefore, VBF should recover amounts paid to the Founders described herein from

2014 to 2018.

                   COUNT IX – CIVIL CONSPIRACY – ALL FOUNDERS

       289.     VBF adopts and reincorporates paragraphs 1 through 229.

       290.     From the outset of their misconduct alleged herein, each of the Founders had a

meeting of the minds with each of the other Founders and agreed to engage in the breaches of

fiduciary duties and fraud alleged herein, for their personal benefit, to cause harm to VBF, while

concealing the same from VBF (the “Conspiracy”).

       291.     The Founders’ aim, through the Conspiracy, was to accomplish the unlawful

objective of personally benefiting the Founders at the expense of VBF, while concealing the same

from VBF, and/or making fraudulent misrepresentations to VBF, its disinterested directors, and




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fraudulent non-disclosures or concealments from VBF in the face of the Founders’ duties of

disclosure.

       292.    Through the Conspiracy and the overt, unlawful actions alleged herein, the

Founders facilitated and accomplished their breaches of fiduciary duty, fraudulent concealment,

constructive fraud, fraudulent misrepresentation and fraudulent transfers.

       293.    VBF suffered injuries as a direct and proximate result of the Founders’ Conspiracy.

VBF’s compensatory damages are in excess of $90,000,000.

       294.    Further, the Founders’ misconduct was willful and egregious, or at least wanton,

and has continued into the year 2019. Therefore punitive damages against the Founders and in

favor of VBF are warranted, in an amount to be determined at trial. Also, Hall and Ted Rea have

verbally advised at least one third party that they are “judgment proof,” or words to that effect,

implying that they could commit wrongful acts without recourse.

                COUNT X – AIDING AND ABETTING – ALL FOUNDERS

       295.    VBF adopts and reincorporates paragraphs 1 through 229.

       296.    From the outset of their misconduct alleged herein, the Founders knowingly and

substantially assisted each other in their breaches of fiduciary duties alleged herein, for their

personal benefit, while concealing the same from VBF and its disinterested director.

       297.    VBF suffered injuries as a direct and proximate result of the Founders’ aiding and

abetting. VBF’s compensatory damages are in excess of $90,000,000.

       298.    Further, the Founders’ misconduct was willful and egregious, or at least wanton,

and has continued into the year 2019. Therefore punitive damages against the Founders and in

favor of VBF are warranted, in an amount to be determined at trial. Also, Hall and Ted Rea have

verbally advised at least one third party that they are “judgment proof,” or words to that effect,

implying that they could commit wrongful acts without recourse.


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                COUNT XI – UNJUST ENRICHMENT – ALL FOUNDERS

       299.    VBF adopts and reincorporates paragraphs 1 through 229.

       300.    VBF has conferred millions of dollars’ worth of benefit upon the Founders due to

the Founders’ fraud or taking undue advantage, for which the Founders have not compensated

VBF. It would be unjust and contrary to principles of equity and good conscience to allow the

Founders to retain this benefit conferred upon them by VBF without just consideration as the

Founders have been unjustly enriched at VBF’s expense.

              COUNT XII – EQUITABLE ACCOUNTING – ALL FOUNDERS

       301.    VBF adopts and reincorporates paragraphs 1 through 229.

       302.    VBF cannot attain pertinent information to fully account for the tens of millions of

dollars misappropriated and squandered by the Founders through ordinary discovery procedures

such as those permitted by Federal Rules of Civil Procedure 26, 33, 34, 36, and 45. The Founders’

concealment was integral to their misconduct, and therefore they cannot possibly be trusted to

provide full and complete information through traditional discovery methods. Additionally, upon

information and belief, the Founders and those friendly to them have spoliated data, or otherwise

cannot be trusted in discovery. Indeed, currently pending are the Founders’ and the Nelsons’

Motions to Quash basic discovery to critical witnesses. Also, VBF’s own counsel, Jackson

Walker, is withholding VBF’s own client files from VBF based on an alleged Founders’ privilege.

Further, VBF’s other counsel, CBB and Maniaci, have continued to act contrary to VBF’s interests,

and to promote the Founders’ schemes, while refusing to turnover VBF client files to VBF. Simply

put, the Founders should be required to “show us the money” through an equitable accounting

since only the Founders truly know the extent of their massive and complex fraud. The complexity

of the fraud is further alleged in VBF’s RICO count.




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       303.     Discovery to date has also revealed accounts utilized by the Founders so complex

that adequate relief cannot be obtained at law. VBF has to date been able to receive partial

compliance on a subpoena to Wells Fargo Bank, which held VBF accounts during the Founders’

reign and the personal accounts of Wulf. The information produced by Wells Fargo to date reveals

numerous wire transfers to and from unknown accounts, and other transactions that appear

suspicious. It will virtually impossible for VBF to painstakingly piece together the various

documentation from the Founders and numerous third parties to fully document the “money in”

and “money out” of VBF during the Founders’ tenure at VBF.

       304.     Therefore, as a result of the Founders’ fiduciary duties to account to VBF, breaches

of fiduciary duties, fraud, and unjust enrichment, as well as the existence of complex mutual

accounts and the need for discovery, VBF is entitled to an order requiring the Founders to account

for every dollar deposited, received, or otherwise transferred to or from VBF or any of its affiliates

and the Founders (or others on behalf of the Founders) from on or before October 1, 2014 through

January 31, 2018, and entering a judgment against the Founders as to any amounts for which the

Founders cannot account, or which are shown by the accounting to have been misappropriated by

the Founders.

       305.     Pleading in the alternative, money damages are inadequate to VBF because VBF

cannot fully learn the extent of the Founders’ misconduct, of which the Founders’ have superior

knowledge, without an accounting.

                       COUNT XIII – DECLARATORY JUDGMENT-
                      ALL TRANSACTIONS VOID – ALL FOUNDERS

       306.     VBF adopts and reincorporates paragraphs 1 through 229.




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       307.    VBF disputes the validity of any and all transactions wherein the Defendants

personally benefitted, or which were otherwise improper, including the funds and other assets that

were misappropriated, for grossly inadequate consideration.

       308.    Pursuant to 22 U.S.C. § 2201, there is an actual controversy between VBF, on the

one hand, and the Founders on the other hand, as to such transactions, wherein VBF asserts that

all such transactions should be declared null and void ab initio, whereas the Founders presumably

seek to uphold these transactions.

    COUNT XIV – RESCISSION–TERMINATION AGREEMENTS, SELECTIVE
   PROVISIONS AND DECLARATORY JUDGMENT – HALL, DRIVER, TED REA

       309.    VBF adopts and reincorporates paragraphs 1 through 229.

       310.    When Hall, Ted Rea and Driver’s Termination Agreements (collectively, the

“Termination Agreements”) were entered into, neither VBF nor its disinterested board members

knew or could have known of those Defendants’ breaches of fiduciary duty or fraud and, in fact,

believed to be true all the material misrepresentations that Hall, Ted Rea, and Driver relayed to

cover up their breaches of fiduciary duty and fraud.

       311.    Both VBF and the disinterested board members relied on what they only later

realized were material misrepresentations in executing the Termination Agreements.

       312.    Indeed, Hall, Ted Rea, and Driver intended that VBF and its disinterested board

members rely on their material misrepresentations and each defendant’s failure to disclose the true

facts of their fraud in order to secure the Termination Agreements.

       313.    Had VBF and/or its disinterested board members known the true facts of Hall, Ted

Rea, and Driver’s breaches of fiduciary duty and fraud, the Termination Agreements would not

have been entered into.




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       314.    Because the true facts of Hall, Ted Rea, and Driver’s breaches of fiduciary duty,

fraud and material misrepresentations were concealed and never revealed to VBF or its

disinterested board members, the Termination Agreements are voidable.

       315.    VBF has retained no benefits under the Termination Agreements. Only after

signing the Termination Agreements did VBF begin to uncover the Founders’ breaches of

fiduciary duty, fraudulent concealment, fraudulent misrepresentation, constructive fraud,

conspiracy, misappropriation and other waste of over $90,000,000 of VBF’s corporate assets

leading to its ultimate demise.

       316.    By March 2018, VBF discovered some of the misconduct alleged herein against

Hall, Ted Rea, and Driver, and VBF initiated this action in July 2018. After VBF filed this lawsuit,

it has continued to discover more facts of the Founders’ misconduct and concealment of the same

to VBF and disinterested VBF board members, and the investigation is ongoing.

       317.    VBF has no adequate remedy at law if the Termination Agreements are not

rescinded because those agreements purport to release some of VBF’s claims against Hall, Ted

Rea, and Driver.

       318.    Rescission of the Termination Agreements is necessary to avoid Hall, Ted Rea’s,

and Driver’s unjust enrichment as all three have benefited from their respective Termination

Agreements, including the Release and Severance Provisions therein.

       319.    VBF would suffer substantial harm and injury if the Termination Agreements are

not rescinded because, if deemed enforceable, the Termination Agreements and its provisions

would purportedly preclude VBF from bringing at least some claims against Hall, Ted Rea, and

Driver for VBF’s damages.




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       320.    Based on the egregious conduct herein, damages, as well as rescission, are

warranted to accomplish full justice in an amount to be proven at trial.

       321.    Pleading in the alternative, to the extent the Court deems the Release and Severance

Provisions of the Termination Agreements to be divisible, VBF seeks partial rescission of the

Release and Severance Provisions only.

       322.    Pleading in the alternative, to the extent the Court deems rescission of the

Termination Agreements or its provisions inappropriate, and because there exists an actual

controversy between VBF and the defendants named herein pursuant to 22 U.S.C. § 2201, VBF,

which has a tangible legal benefit in bringing this action against the defendants named herein,

seeks a declaration that the Termination Agreements and its Release and Severance Provisions are

null and void ab initio.

                           COUNT XV – DECLARATORY JUDGMENT
                                       JAMES REA

       323.    VBF adopts and reincorporates paragraphs 1 through 229.

       324.    On one or more occasions, James Rea misappropriated funds or assets of the

Company, committed willful acts or omissions of dishonesty or fraud, and was in gross neglect of

his duties to VBF between 2014 and January 2018 in breach of his Employment Agreement.

       325.    As a result of James Rea’s misconduct, VBF has been damaged in at least the

amounts that James Rea misappropriated or converted to his own personal benefit, in addition to

millions of dollars representing the devaluation of VBF caused by his mismanagement and other

corporate waste.

       326.    VBF has a tangible legal benefit in not being obligated to confer any benefit on

James Rea under the Employment Agreement as it was procured by fraud, breaches of fiduciary

duty, among other misconduct.



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        327.      Pursuant to 22 U.S.C. § 2201, there is an actual controversy between VBF, on the

one hand, and James Rea on the other hand, as to whether any benefits are owed by VBF to James

Rea under the Employment Agreement, wherein VBF asserts that James Rea is not owed any

benefits under the Employment Agreement, whereas James Rea presumably seeks to uphold the

benefits under the Employment Agreement.

                              COUNT XVI – RESCISSION –
                         EMPLOYMENT AGREEMENT – JAMES REA

        328.      VBF adopts and reincorporates paragraphs 1 through 229.

        329.      When James Rea’s Employment Agreement was entered into, neither VBF nor its

disinterested board members knew or could have known of his breaches of fiduciary duty and, in

fact, believed to be true all the representations that he relayed to cover up his breaches of fiduciary

duty.

        330.      At the time the Employment Agreement was entered into, neither VBF nor its

disinterested board members were aware or could have been aware of the Founders’ various

schemes, the use of VBF funds for James Rea’s own personal benefit, and the misrepresentations

of the Metrics.

        331.      Had VBF and/or its disinterested board members known the true facts, the

Employment Agreement would not have been entered into.

        332.      Because the true facts of James Rea’s breaches of fiduciary duty, fraud, and

material misrepresentations were concealed and never revealed to VBF or its disinterested board

members, the Employment Agreement is voidable.

        333.      VBF has retained no benefits under the Employment Agreement. Less than two

years after signing the Employment Agreement, VBF began to uncover the Founders’ breaches of

fiduciary duty, fraudulent concealment, fraudulent misrepresentation, constructive fraud,



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conspiracy, misappropriation and other waste of over $90,000,000 of VBF’s corporate assets

leading to its ultimate demise.

       334.    By January 2018, VBF discovered some of the misconduct alleged herein against

James Rea, and VBF initiated this action in July 2018. After VBF filed this lawsuit, it has

continued to discover more facts of the Founders’ misconduct, concealment of the same to VBF

and disinterested VBF board members, and the investigation is ongoing.

       335.    VBF has no adequate remedy at law if the Employment Agreement is not rescinded

because that agreement purports to release some of VBF’s claims against James Rea.

       336.    Rescission and/or renunciation of the Employment Agreement is necessary to avoid

James Rea’s unjust enrichment as well as VBF’s substantial harm and injury and to discharge any

obligations in the future because, if the Employment Agreement is upheld, VBF may be required

to pay James Rea’s accrued employment benefits.

       337.    Based on the egregious conduct herein, damages, as well as rescission, are

warranted to accomplish full justice in an amount to be proven at trial.

         COUNT XVII – RESCISSION – SEPARATION AGREEMENT – WULF

       338.    VBF adopts and reincorporates paragraphs 1 through 229.

       339.    When the Wulf Separation Agreement was entered into, neither VBF nor its

disinterested board members knew of his breaches of fiduciary duty and, in fact, believed to be

true all the representations that Wulf relayed to cover up his breaches of fiduciary duty.

Specifically, neither VBF nor its disinterested board members were aware of the misconduct

alleged herein including Wulf’s various schemes for his own personal benefit, which resulted in a

colossal waste of corporate assets.

       340.    Had VBF and/or its disinterested board members known the actual facts, the Wulf

Separation Agreement would not have been entered into.


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       341.    Because the true facts of Wulf’s breaches of fiduciary duty and other misconduct

including their misrepresentations were concealed and never revealed to VBF or its disinterested

board members, the Wulf Separation Agreement is voidable due to mistake and/or the Wulf’s

breaches of fiduciary duty and misconduct including fraud.

       342.    VBF has retained no benefits under the agreement.         After signing the Wulf

Separation Agreement VBF began to uncover the breaches of fiduciary duty, fraudulent

concealment, fraudulent misrepresentation, constructive fraud, conspiracy, misappropriation and

other waste of over $90,000,000 of VBF’s corporate assets leading to its ultimate demise.

       343.    By March 2018, VBF discovered some of the misconduct alleged herein against

Wulf, and VBF initiated this action in July 2018. After VBF filed this lawsuit, it has continued to

discover more facts of Wulf’s various schemes, other misconduct, and their fraudulent

concealment of the same to VBF and disinterested VBF board members, and the investigation is

ongoing.

       344.    VBF has no adequate remedy at law if the Wulf Separation Agreement is not

rescinded because that agreement purports to provide a severance payment to Wulf that was

procured by fraud and other misconduct.

       345.    As no adequate remedy at law exists, the Wulf Separation Agreement should be

rescinded as a result of Wulf’s breaches of fiduciary duty while in control of VBF.

       346.    As no adequate remedy at law exists, the Wulf Separation Agreement was made by

mistake as neither VBF nor disinterested VBF board member knew sufficient facts of Wulf’s

misconduct alleged herein and thus the Wulf Separation Agreement is voidable.

       347.    Rescission of the Wulf Separation Agreement is necessary to avoid Wulf’s unjust

enrichment as he has benefited from it, including the severance payments therein.




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        348.    VBF would suffer substantial harm and injury if the Wulf Separation Agreement is

not rescinded as VBF would be forced to pay Wulf’s severance and other benefits under the Wulf

Separation Agreement.

        349.    As a result of Wulf’s actions, VBF has been damaged in the amount of over $80

million. Thus, damages, as well as rescission, are warranted to accomplish full justice in an amount

to be proven at trial.

                         COUNT XVIII – DECLARATORY JUDGMENT –
                            SEPARATION AGREEMENT – WULF

        350.    VBF adopts and reincorporates paragraphs 1 through 229.

        351.    Pleading in the alternative, VBF has a tangible legal benefit in not being obligated

in any way under the Wulf Separation Agreement as the benefits therein were procured by fraud,

breaches of fiduciary duty, among other misconduct.

        352.    Pursuant to 22 U.S.C. § 2201, there is an actual controversy between VBF, on the

one hand, and Wulf on the other hand, as to the benefits under the Wulf Separation Agreement,

wherein VBF asserts that Wulf is not entitled to recover any benefits under the Wulf Separation

Agreement, and Wulf presumably seeks to recover benefits under the Wulf Separation Agreement.

         COUNT XIX – RESTITUTION–HALL, TED REA, DRIVER AND WULF

        353.    VBF adopts and reincorporates paragraphs 1 through 229.

        354.    The Termination Agreements, the Wulf Separation Agreement, or the provisions

therein are not valid as they were procured by fraud, breaches of fiduciary duty, and other

misconduct.

        355.    Defendants Hall, Ted Rea, Driver, and Wulf wrongfully received benefits,

including money, pursuant to their Termination Agreements and the Wulf Separation Agreement.




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       356.    It would be unjust and contrary to principles of equity and good conscience to allow

the defendants named herein to retain the benefits or the value thereof conferred upon them by

VBF.

       357.    The benefits received by the defendants named herein rightfully belong to VBF in

equity and good conscience.

                        COUNT XX – CONSPIRACY – CANACCORD

       358.    VBF adopts and reincorporates paragraphs 1 through 229.

       359.    The Founders and Canaccord had a meeting of the minds and agreed to engage in

a conspiracy for their personal benefit, to cause harm to VBF by securing investments based on

false data and/or misrepresentations while concealing the same from VBF, its disinterested board

members, and potentially interested third parties (“Founders-Canaccord Conspiracy”).

       360.    The Founders and Canaccord’s aim, through the Founders-Canaccord Conspiracy,

was to accomplish the unlawful objective of benefiting the Founders and Canaccord at the expense

of VBF, while concealing the same from VBF, and/or making fraudulent misrepresentations to

VBF, and fraudulent non-disclosures or concealments from VBF, its disinterested directors, and

potentially interested third parties in the face of the Founders’ duties of disclosure.

       361.    The overt, unlawful actions described herein furthered the Founders-Canaccord

Conspiracy. Canaccord facilitated, encouraged, and assisted in accomplishing the Founders’

breaches of fiduciary duty, fraudulent concealment, constructive fraud, and fraudulent

misrepresentation.

       362.    VBF suffered injuries as a direct and proximate result of the Conspiracy between

the Founders and Canaccord. VBF’s compensatory damages are in excess of $90,000,000.

       363.    Further, Canaccord’s misconduct was willful and egregious, or at least wanton, and

warrants punitive damages in an amount to be determined at trial.


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        COUNT XXI – AIDING AND ABETTING CONSPIRACY – CANACCORD

       364.    VBF adopts and reincorporates paragraphs 1 through 229.

       365.    While in control of VBF, the Founders engaged in a Conspiracy to accomplish the

unlawful objective of personally benefiting at the expense of VBF. Canaccord had knowledge that

the Founders were engaged in the Conspiracy.

       366.    From the beginning of its engagement with VBF at all times thereafter until that

engagement ended, Canaccord intended to assist the Founders in carrying out their Conspiracy and

other misconduct described herein.

       367.    Canaccord knowingly and substantially assisted the Founders in carrying out the

Conspiracy alleged herein, while concealing the same from VBF, its disinterested board members,

and potentially interested third parties.

       368.    As a direct and proximate result of Canaccord’s aiding and abetting of the

Founders’ Conspiracy, VBF suffered compensatory damages are in excess of $90,000,000.

       369.    Canaccord’s actions were willful and egregious, or at least wanton, and therefore

punitive damages against Canaccord in an amount to be determined at trial are warranted.

                   COUNT XXII – CONSPIRACY – CHRISTINE GAGNE

       370.    VBF adopts and reincorporates paragraphs 1 through 229.

       371.    The Founders’ and Gagne had a meeting of the minds and agreed to engage in a

conspiracy for their personal benefit and to cause harm to VBF by employing and/or compensating

Gagne with VBF funds while she was not without any legal immigration status to work in the

United States (“Founders-Gagne Conspiracy”), while concealing the same from VBF and its

disinterested board members.




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       372.    The Founders and Gagne’s aim, through the Founders-Gagne Conspiracy, was to

accomplish the unlawful objective of personally benefiting the Founders and Gagne at the expense

of VBF while concealing the same from VBF and its disinterested board members.

       373.    The overt, unlawful actions described herein further the Founders-Gagne

Conspiracy. Gagne facilitated, encouraged and assisted in accomplishing the Founders’ breaches

of fiduciary duty, fraudulent concealment, constructive fraud, and fraudulent misrepresentation.

       374.    VBF suffered injuries as a direct and proximate result of the Conspiracy between

the Founders and Gagne. In total, VBF’s compensatory damages are in excess of $90,000,000.

       375.    Further, Gagne’s misconduct was willful and egregious as evidenced by, for

example, her statements to VBF employees alleged herein, or at least wanton, and warrants

punitive damages in an amount to be determined at trial.

   COUNT XXIII – AIDING AND ABETTING CONSPIRACY – CHRISTINE GAGNE

       376.    VBF adopts and reincorporates paragraphs 1 through 229.

       377.    The Founders owed fiduciary duties to VBF from in or around October 1, 2014,

when they came to control VBF, through and including January 2018, when the last of the

Founders was terminated as an employee, contractor, officer and/or director of VBF.

       378.    Gagne knew of the Founders’ fiduciary relationship to VBF.

       379.    By receiving monies from VBF while she was without any legal immigration status

to work in the United States and knowingly receiving those monies under another person’s name,

Gagne was aware that she was participating in the breach of the Founders’ fiduciary duties to VBF.

       380.    Gagne knowingly and substantially assisted the Founders in their breaches of

fiduciary duties alleged herein while concealing the same from VBF and disinterested board

members.




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       381.    VBF suffered injuries as a direct and proximate result of Gagne’s aiding and

abetting of the Founders’ breaches.

       382.    Because of the Gagne’s substantial assistance to the Founders, VBF’s

compensatory damages for Gagne’s misconduct are, individually and/or in the aggregate with the

other claims, more likely than not in excess of $75,000.

       383.    Further, Gagne’s knowing participation and substantial assistance to the Founders

was willful and egregious, or at least wanton, therefore, punitive damages against Gagne and in

favor of VBF are warranted, in an amount to be determined at trial.

              COUNT XXIV – UNJUST ENRICHMENT – CHRISTINE GAGNE

       384.    VBF adopts and reincorporates paragraphs 1 through 229.

       385.    VBF, at Wulf’s direction and due to the Founders’ fraud or taking undue advantage,

conferred VBF funds for Gagne as compensation and benefits for alleged services Gagne provided

to VBF.

       386.    It would be unjust and contrary to principles of equity and good conscience to allow

Gagne to retain the benefits conferred upon her by VBF, which she wrongfully secured, as she has

been unjustly enriched at VBF’s expense and to its detriment.

                        COUNT XXV – CONSPIRACY – MANIACI

       387.    VBF adopts and reincorporates paragraphs 1 through 229.

       388.    The Founders and Maniaci had a meeting of the minds and agreed to engage in a

conspiracy for their personal benefit so Maniaci could secure shares at discounted prices as

described herein and to cause harm to VBF, while concealing the same from VBF, its disinterested

board members (“Founders-Maniaci Conspiracy”).

       389.    The Founders and Maniaci’s aim, through the Founders-Maniaci Conspiracy, was

to accomplish the unlawful objective of personally benefiting the Founders and Maniaci at the


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expense of VBF, while concealing the same from VBF, and/or making fraudulent

misrepresentations to VBF and its disinterested board members in the face of the Founders’ duties

of disclosure.

       390.      The overt, unlawful actions described herein furthered the conspiracy. Maniaci

facilitated, encouraged, and assisted in accomplishing the Founders’ breaches of fiduciary duty,

fraudulent concealment, constructive fraud, and fraudulent misrepresentation.

       391.      VBF suffered injuries as a direct and proximate result of the conspiracy between

the Founders and Maniaci. In total, VBF’s compensatory damages are in excess of $90,000,000.

       392.      Further, Maniaci’s misconduct was willful and egregious, or at least wanton, and

warrants punitive damages in an amount to be determined at trial as it continues into 2019 through

the Bankruptcy Proceedings.

                   COUNT XXVI – AIDING AND ABETTING – MANIACI

       393.      VBF adopts and reincorporates paragraphs 1 through 229.

       394.      While in control of VBF, the Founders engaged in the Conspiracy to accomplish

the unlawful objective of personally benefiting at the expense of VBF. Maniaci had knowledge

that the Founders were engaged in this conspiracy.

       395.      From the beginning of his role in overseeing the work of CBB lawyers for VBF,

his own legal work for VBF, and his personal relationship with the Founders and at all times

thereafter, Maniaci intended to assist the Founders in carrying out the Conspiracy and other

misconduct described herein.

       396.      Maniaci knowingly and substantially assisted the Founders in carrying out the

Conspiracy alleged herein, while concealing the same from VBF and its disinterested board

members.




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        397.   Maniaci’s substantial assistance toward carrying out the Founders’ Conspiracy is

evidenced by, among other things, his acquisition of VBF stock for a steep discount or the

acquisition of VBF stock for a steep discount by entities associated with Maniaci, as well as his

legal work (through CBB) for entities other than VBF but paid for by VBF.

        398.   VBF suffered and continues to suffer injuries as a direct and proximate result of

Maniaci’s aiding and abetting of the Founders’ Conspiracy as Maniaci and the Founders concealed

his personal relationship with the Founders and the discounts he received on VBF stock from VBF,

its disinterested board members and throughout the Bankruptcy Proceedings.

        399.   Maniaci’s actions were and are willful and egregious, or at least wanton, in

particular his continued withholding of VBF files that may contain further evidence of the

Founders’ conspiracy (or the other claims alleged herein against any Defendant) and Maniaci’s

role therein, as well as his recent efforts to solicit clients to join the Ad Hoc Committee of equity

investors in VBF’s Bankruptcy Proceedings. Therefore, punitive damages against Maniaci in an

amount to be determined at trial are warranted.

     COUNT XXVII – VIOLATIONS OF RACKETEER INFLUENCED AND CORRUPT
          ORGANIZATIONS ACT (RICO) (18 U.S.C. § 1962(c)) – FOUNDERS

        400.   VBF adopts and incorporates paragraphs 1 through 229.

A.      The RICO “Person” and “Enterprise”

        401.   Each of the Founders is a “person,” as that term is defined in 18 U.S.C. § 1961(3).

        402.   VBF is a Racketeer Influenced and Corrupt Organizations (“RICO”) enterprise.

Specifically, VBF was formed as a sustainable fish farm business but was instead controlled by

the Founders as an abused corporate enterprise and ultimately a victim of the Founders’ schemes.

The Founders directed the affairs of VBF, the RICO enterprise, as part of their scheme to loot and

defraud VBF.



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       403.    Collectively, the Founders form an “enterprise” or “enterprises” as defined by 18

U.S.C. § 1961(4) (“Enterprise”). The Founders have been associated in fact outside of VBF, and

have functioned outside of VBF in an organized fashion, having a joint purpose of acting together

for each other’s benefit in VBF and other businesses, for the purposes of enriching themselves at

the expense of VBF by engaging in the fraudulent scheme alleged above, and the Founders have

therefore had business and, upon information and belief, personal relationships with each other

outside of VBF over an extended period of time. Each member conducted the affairs of the

enterprises through a pattern of racketeering activity—namely, mail fraud and wire fraud, as

described herein.

       404.    Further, the Founders or the Founders through VBF acted as an enterprise as to

VBF, orchestrating their joint misconduct over an approximate three year period. Additionally,

the Founders misused VBF itself as an instrumentality not to accomplish VBF’s legitimate

business, but instead to conduct the illegal acts set forth herein.

       405.    Therefore, VBF was not a beneficiary of the Enterprise, but instead its victim,

misused by the Founders as a passive instrumentality to accomplish their misconduct, as the

Founders controlled VBF at relevant times.

       406.    At all times material to the allegations stated herein, the Enterprise was engaged in,

or had some effect upon, interstate commerce as VBF has done business in various states,

including, but not limited to, Illinois, Iowa, Texas, New York, Florida, and Canada and VBF

shareholders reside in multiple states.

       407.    As alleged herein, the Enterprise’s purpose was to serve as the vehicle through

which the Founders implemented their continuous and ongoing scheme to injure VBF. The

intended purpose of the Founders’ scheme was to misappropriate millions of dollars from VBF.




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B.     The Pattern of Racketeering Activity

       408.    The Founders directed the affairs of VBF and the association-in-fact enterprise as

part of the scheme to defraud VBF.

       409.    The Founders served as the executives of VBF and were the primary decision

makers. As alleged above, the Founders made all major decisions concerning the marketing,

finances, and day-to-day operations of VBF. The Founders were aware and had knowledge

indicating that the facts related to the FCR, Density, Mortality Rates, Water Quality, EBITDA and

other Financial Metrics, and theirs and VBF’s Technical Abilities were being misrepresented to

VBF, its disinterested directors, its shareholders, and potentially interested third parties.

Nonetheless, the Founders devised and participated in a plan to use such business Metrics to

generate unrealistic value to VBF. Canaccord, including Lobb and Goodman who were, for a time,

employed by Canaccord and after that time, consultants to VBF, participated in the Founders’ plan

to generate unrealistic value to VBF by contributing to and/or approving of the Founders’ plan to

use business Metrics to induce investments in VBF. Moreover, the Founders conspired and acted

outside of their positions at VBF to accomplish the scheme that looted and injured VBF.

       410.    The Founders, by and through the Enterprise, committed at least two related acts of

racketeering activity which occurred within ten years of each other within the meaning of 18 §

1961(5), as alleged in more detail in this sub-section.

C.     Predicate Acts

       411.    Between September 5, 2014 and the present, the Founders executed their unlawful

racketeering activity targeted at VBF through the following mailings and interstate wires (i.e.

electronic mail, facsimiles and telephone calls). Each such communication is a discrete violation

of 18 U.S.C. §§ 1341 (mail fraud) or 1343 (wire fraud) and a “predicate act” of racketeering

activity pursuant to 18 U.S.C. § 1961(1) (the “Predicate Acts”):


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               a.      Compensation of Christine Gagne who was compensated with VBF funds
                       under the name of “Ronnie O’Brien” while she did not have legal
                       immigration status to work in the United States;

               b.      June 2014 Written Representations

               c.      May 2015 Written Representations;

               d.      Various June 2015 Written Representations;

               e.      July 2015 Fisheries Report

               f.      November 2015 Written Representations;

               g.      January 2016 Written Representations;

               h.      April 2016 Written Representations; and

               i.      The Founders’ involvement in other businesses while at VBF

       412.    The Founders distributed marketing materials, contracts, e-mail communications,

and other documents containing material misrepresentations related to the business Metrics,

technology, and finances of VBF that were transmitted by mail and wire in interstate commerce.

       413.    In reality, the Founders misrepresented and concealed their misconduct through

such communications.

       414.    Each of the Predicate Acts includes statements that were knowingly false and/or

made with reckless indifference as to their truth or falsity, and was made with intent to fraudulently

induce VBF to refrain from attempting to halt the Founders’ misconduct by concealing these

material facts from VBF.

       415.    These Predicate Acts consisted of communications and transmissions through the

mail and across the interstate wires. They were intended to, and did in fact, directly or indirectly

affect the Enterprise, by allowing it to misappropriate VBF funds and other assets.

       416.    The Founders’ repeated violation of 18 U.S.C. §§ 1341 (mail fraud) or 1343 (wire

fraud) occurred over a period of several years, commencing in 2014, and was continuous



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throughout the relevant time period (i.e. on or before September 2014 through at least November

2017, if not later).

        417.    The Predicate Acts were related and connected to the same unlawful scheme or

artifice to fund VBF, loot VBF, and ultimately defraud VBF devised and executed by the Founders

to continually conduct or participate in the conduct of the affairs of the Enterprise.

        418.    Accordingly, the Founders’ pattern of racketeering activity consisted of multiple

Predicate Acts that victimized VBF. The Predicate Acts occurred and extended over a substantial

period of time constituting a close-ended scheme. Pleading in the alternative, the Predicate Acts

constituted an open-ended scheme as they occurred over a substantial period of time and threaten

continuing criminal conduct.

        419.    The Founders’ pattern of racketeering activity is further evidenced by the number

of Predicate Acts and the variety of the Predicate Acts (consisting of, inter alia, projections,

invoicing, emails, guaranties and other promises).

        420.    VBF made or authorized transfers of assets and stock (as described above) totaling

(and based on information available today, VBF’s investigation is ongoing):

                a.     at least $4,562,498 to Wulf;

                b.     at least $4,747,333 to Hall;

                c.     at least $4,365,000 to James Rea;

                d.     at least $4,487,410 to Ted Rea; and

                e.     at least $3,389,501 to Driver.

        421.    The Founders also directed all distributions made by VBF. Instead of leaving

sufficient funds in VBF to conduct day-to-day operations, the Founders looted the company

through misappropriation of funds and self-dealing. These funds were diverted from VBF to the

Founders. These distributions were effectuated through the United States mail and by wire in


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interstate commerce, in furtherance of the fraudulent scheme alleged herein. This conduct caused

injury to VBF’s business, as it resulted in, among other things, VBF owing millions of dollars

without sufficient funds to account for such debt.

D.     Defendants Conducted the Enterprise’s Affairs Through a Pattern of Racketeering
       Activity

       422.    At all relevant times, the Founders were associated with the Enterprise as the parties

in control of the Enterprise and VBF. The Founders exercised continuous authority over the

Enterprise on an ongoing basis, up through and including November 2017.

       423.    The Founders conducted the affairs of VBF and the association-in-fact enterprise

through a pattern of racketeering activity: namely, mail fraud under 18 U.S.C. § 1341, wire fraud

under 18 U.S.C. § 1343.

       424.    The Founders furthered their scheme by transferring funds to themselves via wire

on multiple occasions, paying themselves sums of money in compensation and bonuses.

Additionally, the Founders authorized and requested payments related to the BAJER stock scheme,

the American Growth Funding Loan scheme, the Wulf Lake House scheme, the Sedun stock

scheme, the Gagne scheme, the tractor-trailer scheme, and the OFA Scheme to loot VBF and its

resources, and payments made for these schemes were made by wire or mail.

       425.    At all relevant times, the Founders’ association with the Enterprise facilitated their

commission of the Predicate Acts comprising a pattern of racketeering activity, as that term is

defined in 18 U.S.C. § 1961(5).

       426.    The Founders committed or caused to be committed the Predicate Acts, acts of mail

or wire fraud, as the means by which he conducted, or participated in the conduct of the

Enterprise’s affairs for the intended purpose of misappropriating funds and other assets from VBF.




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       427.    The Founders used mail and wire over a continuous period of years, establishing a

pattern of racketeering activity.

E.     Injury To VBF

       428.    As a direct and proximate result of the Founders’ racketeering activities, VBF

suffered actual damages in the amount of at least $90,000,000.           VBF has been directly,

purposefully, and foreseeably injured in its business and property by reason of the Founders’

violation of 18 U.S.C. § 1962(c). VBF is a “person” who has suffered a compensable injury as a

result of the Founders’ unlawful activity, as defined in 18 U.S.C. § 1964(c).

       429.    Pursuant to 18 U.S.C. § 1964(c), VBF is entitled to recover three times the actual

damages that it has sustained as a direct and proximate cause of the Enterprise’s unlawful

racketeering activity, amounting to at least $240,000,000, as well as VBF’s reasonable attorney’s

fees and litigation expenses.

       430.    The intended, direct and foreseeable consequence of the Founders’ unlawful

racketeering activity, as described above, was and is to injure VBF’s business or property by,

among other things, extracting millions of dollars of from VBF.

       431.    As a result of the Founders’ racketeering activity and scheme to defraud, VBF has

suffered damages in excess of the minimum jurisdictional limit of this Court, for which it seeks

recovery. VBF has suffered injury to its business and property as a result of the Founders’ conduct

of VBF through a pattern of racketeering activity.

       432.    The misappropriation of funds and self-dealing perpetrated by the Founders have

depleted VBF of funds that could have been used to continue to operate its business and pay its

creditors. VBF was injured by the Founders’ fraudulent and racketeering activity because it

prevented the business from continuing to operate and maintain the core of its business.




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       433.    VBF is entitled to treble damages and attorneys’ fees based upon the Founders’

violation of 18 U.S.C. § 1962(c).

       434.    VBF did not discover its injuries resulting from the Founders’ pattern of

racketeering activity until in or around March 2018.

                                    XI. ATTORNEYS’ FEES

       435.    VBF is entitled to recover reasonable and necessary attorney’s fees and costs for

the claim against Defendants.

       436.    Specifically, under Iowa’s fraudulent transfer law, the Court may award, any other

relief the circumstances may require (see Iowa Code § 684.7) and under Texas’ fraudulent transfer

law, Plaintiff is entitled to attorneys’ fees and costs for the claims against Defendants (see TEX.

BUS. & COMM. CODE § 24.013).

                                         XII. PRAYER

       WHEREFORE, VBF respectfully requests the following relief:

       437.    That this Court enter judgment in its favor and against the Defendants, jointly and

severally, in an amount in excess of $75,000, but to be determined at trial, as actual and

consequential damages, including but not limited to compensatory damages representing the

devaluation of Plaintiff due to Defendants Leslie A. Wulf’s, Bruce A. Hall’s, James Rea’s, John

E. Rea’s, and Keith Driver’s fraud, mismanagement, other waste of corporate assets, and other

misconduct described herein, plus exemplary damages due to Defendants’ fraudulent and

malicious conduct, costs, allowable pre-judgment and post-judgment interest at the high rates

allowed by law; and disgorgement of compensation and any other amounts unjustly retained;

       438.    That VBF be awarded treble damages and attorneys’ fees based under the

Founders’ violation of 18 U.S.C. §1962(c);




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       439.    That Defendants Leslie A. Wulf, Bruce A. Hall, James Rea, John E. Rea, and Keith

Driver be ordered to return all funds received from VBF as a result of the conduct described herein,

and that judgment be entered against them and in favor of VBF for the total amount transferred to

them. In the case that the funds were spent to acquire any real or personal property, VBF requests

that a constructive trust be imposed upon the property, and an order that such property must

immediately be turned over to VBF;

       440.    That Defendants Leslie A. Wulf, Bruce A. Hall, James Rea, John E. Rea, and Keith

Driver be required to produce an equitable accounting detailing every dollar deposited, received,

or otherwise transferred to or from VBF or any of its affiliates and Defendants from on or before

October 1, 2014 through January 31, 2018, and entering a judgment against Defendants as to any

amounts for which Defendants cannot account, or which are shown by the accounting to have been

misappropriated by Defendants;

       441.    That this Court rescind the Termination Agreements and Wulf Separation

Agreement of Defendants Leslie A. Wulf, Bruce A. Hall, John E. Rea, and Keith Driver and return

the parties to their status quo ante before those agreements were entered into;

       442.    That this Court enter a judgment declaring that the Release and Severance

Provisions in the Termination Agreements are null and void ab initio, and that Defendants Bruce

A. Hall, John E. Rea, and Keith Driver are not entitled to rely on the Release and Severance

Provisions to avoid the claims asserted against them by VBF and award other relief deemed just;

       443.    That this Court enter a judgment declaring that the benefits under the Employment

Agreement between VBF and Defendant James Rea are null and void ab initio, and that Defendant

James Rea is not entitled to rely thereon, and awarding other relief just;




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       444.    That this Court enter a judgment declaring that the benefits under the Wulf

Separation Agreement between VBF and Defendant Leslie A. Wulf are null and void ab initio,

and that Defendant Wulf is not entitled to rely thereon, and awarding other relief deemed just;

       445.    That this Court enter judgment in its favor and against Defendant Christine Gagne,

in an amount in excess of $75,000, but to be determined at trial, as compensatory damages for the

Founders-Gagne Conspiracy and aiding and abetting the Founders’ Conspiracy, plus punitive

damages, costs, allowable pre-judgment interest, the imposition of a constructive trust, and other

relief deemed just;

       446.    That Defendant Christine Gagne be ordered to return all funds received from VBF

as a result of the conduct described herein, and that judgment be entered against her and in favor

of VBF for the total amount transferred to her;

       447.    That this Court enter judgment in its favor and against the Defendant Canaccord,

in an amount in excess of $75,000, but to be determined at trial, as compensatory damages for the

Founders-Canaccord Conspiracy and aiding and abetting the Founders’ Conspiracy, plus punitive

damages in an amount to be determined at trial, costs, allowable pre-judgment interest, the

imposition of a constructive trust, and other relief deemed just;

       448.    That this Court enter judgment in its favor and against the Defendant Maniaci, in

an amount in excess of $75,000, but to be determined at trial, as compensatory damages for the

Founders-Maniaci Conspiracy and aiding and abetting the Founders’ Conspiracy plus punitive

damages in an amount to be determined at trial, costs, allowable pre-judgment interest, the

imposition of a constructive trust, and other relief deemed just;

       449.    That VBF be awarded attorneys’ fees and costs; and




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        450.       That VBF be awarded any other relief, both special and general to which it may be

justly entitled.

Dated: September 23, 2019

                                                JURY TRIAL DEMANDED


                                                /s/ Nicole Williams

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                               CERTIFICATE OF SERVICE

      The undersigned, a non-attorney, hereby certifies under penalties as provided by law, that
on Sepember 23, 2019, she caused a true and correct copy of the foregoing Second Amended
Complaint to be served upon counsel of record via ECF system of Texas:


                                                                  /s/    Arianna Thornton
